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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
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CLASS ACTION

GREGORY BUSHANSKY, Individually and
on Behalf of All Others Similarly Situated,

Plaintiff,

COMPLAINT FOR BREACHES OF
FIDUCIARY DUTY UNDER THE
EMPLOYEE RETIREMENT INCOME _
SECURITY ACT

v.

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WASHINGTON MUTUAL, INC., ANNE V._ )
FARRELL, STEPHEN E. FRANK, KERRY K. )
KILLINGER, THOMAS C. LEPPERT, )
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CHARLES M. LILLIS, PHILLIP D.
MATTHEWS, REGINA T. MONTOYA,
MICHAEL K. MURPHY, MARGARET
OSMER MCQUADE, MARY E. PUGH,
WILLIAM G. REED, JR., ORIN C. SMITH,
JAMES H. STEVER, DARYL D. DAVID, and
JOHN AND JANE DOES 1-20,

07-CV-01874-CMP

Defendants.

 

1. INTRODUCTION
1. Plaintiff Gregory Bushansky (“Plaintiff”) alleges the following based upon
personal information as to himself and the investigation of Plaintiff's counsel, which included a
review of U.S. Securities and Exchange Commission (“SEC”) filings by Washington Mutual,
Inc. (“WaMu” or the “Company”), including the Company’s proxy statements (Form DEF 14A),
annual reports (Form 10-K), quarterly reports (Form 10-Q), current reports (Form 8-K),

registration statement (Form S-8), and the annual reports (Form 11-K) filed on behalf of the

LAW OFFICES GF
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WaMu Savings Plan (the “Plan”), a review of the Forms 5500 filed by the Plan with the
Department of Labor with the U.S. Department of Labor, interviews with participants of the
Plan, and a review of available documents governing the operations of the Plan. Plaintiff
believes that substantial additional evidentiary support will exist for the allegations set forth
herein after a reasonable opportunity for discovery.

Il. NATURE OF THE ACTION

2. This is a class action brought on behalf of the Plan pursuant to §§ 502(a)(2) and
(a)(3) of the Employee Retirement Income Security Act (“ERISA”), 29 U.S.C. §§ 1132(a)(Q) &
(a)(3), against the fiduciaries of the Plan for violations of ERISA.

3. The Plan is a defined contribution retirement plan sponsored by WaMu.

4, Plaintiff's claims arise from the failure of Defendants, who are fiduciaries of the

‘Plan, to act solely in the interest of the participants and beneficiaries of the Plan, and to exercise

the required skill, care, prudence, and diligence in administering the Plan and the Plan’s assets
during the period July 19, 2006 through the present (the “Class Period”).

5. Plaintiff alleges that Defendants allowed the imprudent investment of the Plan’s
assets in WaMu common stock throughout the Class Period despite the fact that they knew or
should have known that such investment was unduly risky and imprudent due to the Company’s
serious mismanagement and improper business practices, including, among other practices: (a)
the Company’s over reliance on subprime lending; (b) the Company’s participation in the
systematic manipulation of the loan origination process; (c) the Company’s failure to implement
and maintain risk management control processes; and (d) the Company’s failure properly to
account for its subprime lending business operations, all of which caused WaMu's financial

statements to be misleading and which artificially inflated the value of shares of WaMu stock

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and the WaMu Stock Fund in the Plan (Fund). In short, during the Class Period, the Company
was scriously mismanaged and faced deteriorating financial circumstances that rendered WaMu
stock an unduly risky and inappropriate investment option for participants’ retirement savings.

6. Plaintiff alleges in Count I that the Defendants who were responsible for the
investment of the Plan’s assets breached their fiduciary duties to the Plan’s participants in
violation of ERISA by failing to prudently and loyally manage the Plan’s investment in WaMu
stock. In Count II, Plaintiff alleges that the Defendants, who were responsible for the selection,
monitoring and removal of the Plan’s other fiduciaries, failed to properly monitor the
performance of their fiduciary appointees and remove and replace those whose performance was
inadequate. In Count III, Plaintiff alleges that the Defendants breached their duty to inform the
Plan’s participants by failing to provide complete and accurate information regarding the
soundness of WaMu stock and the prudence of investing and holding retirement contributions in
WaMu equity. In Count IV, Plaintiff alleges that Defendants breached their duties and
responsibilities as co-fiduciaries by failing to prevent breaches by other fiduciaries of their duties
of prudent and loyal management, complete and accurate communications, and adequate
monitoring. Finally, in Count V, Plaintiff states a claim against WaMu for knowing participation
in the fiduciary breaches alleged herein.

7. As more fully explained below, during the Class Period, Defendants imprudently
permitted the Plan to hold and acquire millions dollars in WaMu stock despite the fundamental
problems the Company faced. Based on publicly available information for the Plan, it appears
that Defendants’ breaches have caused the Plan to lose well over 175 million dollars of

retirement savings during the Class Period.

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8. This action is brought on behalf of the Plan and seeks to recover losses to the Plan
for which Defendants are personally liable pursuant to ERISA §§ 409 and 502(a)(2), 29 U.S.C.
§§ 1109, and 1132(a)(2). In- addition, under § 502(a)(3) of ERISA, 29 U.S.C. § 1132(a)(3),
Plaintiff seeks other equitable relief from Defendants, including, without limitation, injunctive
relief and, as available under applicable law, constructive trust, restitution, equitable tracing, and
other monetary relief.

9, ERISA §§ 409(a) and 502(a)(2) authorize participants such as the Plaintiff to sue
in a representative capacity for losses suffered by the Plan as a result of breaches of fiduciary
duty. Pursuant to that authority, Plaintiff brings this action as a class action under Fed. R. Civ. P.
23 on behalf of all participants and beneficiaries of the Plan whose Plan accounts were invested
in WaMu common stock during the Class Period.

10. In addition, because the information and documents on which Plaintiff's claims
are based are, for the most pari, solely in Defendants’ possession, certain of Plaintiffs
allegations are made by necessity upon information and belief. At such time as Plaintiff has had
the opportunity to conduct discovery, Plaintiff will, to the extent necessary and appropriate,
amend this Complaint, or, if required, seek leave to amend, to add such other additional facts as
are discovered that further support Plaintiff s claims.

I. JURISDICTION AND VENUE

11. Subject Matter Jurisdiction. This Court has subject matter jurisdiction over this
action pursuant to 28 U.S.C. § 1331 and ERISA § 502(e)(1), 29 U.S.C. § 1132(e)(1).

12. Personal Jurisdiction. ERISA provides for nationwide service of process.
ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2). All of the Defendants are either residents of the

United States or subject to service in the United States and this Court therefore has personal

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jurisdiction over them. This Court also has personal jurisdiction over them pursuant to Fed. R.
Civ. P. 40c)(1)(A) because they would all be subject to the jurisdiction of a court of general
jurisdiction in the State of Washington.

13. Venue. Venue is proper in this district pursuant to ERISA § 502(e)(2), 29 U.S.C.
§ 1132(e)(2), because the Plan is administered in this district, some or all of the fiduciary
breaches for which relief is sought occurred in this district, and/or some Defendants reside and/or
transact business in this district.

IV. PARTIES
A. Plaintiff.

14. Plaintiff Gregory Bushansky is a resident of Massapequa, New York. Plaintiff
Bushansky is a participant in Plan within the meaning of ERISA § 3(7), 29 U.S.C. § 1002(7), and
was a.participant in the Plan throughout the Class Period. He continues to hold shares of
Company stock in his retirement account in the Plan and did so throughout the Class Period.

B. Defendants.

15. The Defendants are identified below. All of the Defendants are fiduciaries of the
Plan within the meaning of ERISA, as is explained below in Section VI (“Defendants’ Fiduciary
Status”), and all of them breached their fiduciary duties in various ways as is explained in
Section XI (“Causes of Action”). |

16. Defendant Washington Mutual, Inc. is a consumer and small business banking
company with operations in major U.S. markets. WaMu is incorporated in the State of
Washington, with its principal executive offices located at 1301 Second Avenue, Seattle,

Washington. WaMu’s common stock is listed on the New York Stock Exchange and trades

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under the ticker symbol “WM.” As described more fully below, the Company was a fiduciary
for the Plan.

17. Director Defendants. The WaMu Board of Directors (hereinafter the “Board”) is

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the governing body of WaMu under its charter, its bylaws, and applicable Washington law, and,

unless otherwise-noted, comprises the persons who carried out the Company’s responsibilities

with respect to the Plan, The members of the Board during the Class Period included:

a. Defendant Anne V. Farrell has served as a Director of WaMu since
1994,
b. Defendant Stephen E. Frank has served as a Director of WaMu since
1997,

c. Defendant Kerry K. Killinger has served as a Director of WaMu since
1988 and is the Chairman and Chief Executive Officer of WaMu. Defendant
Killinger served as the President of the Company from 1988 until 2005. He
became the Chief Executive Officer in 1990 and the Chairman of the Board of

Directors in 1991.

d. Defendant Thomas C. Leppert has served as a Director of WaMu since
2005.
€. Defendant Charles M. Lillis has served as a Director of WaMu since
2005.

f. Defendant Phillip D. Matthews has served as a Director of WaMu since

1998.
g. Defendant Regina T. Montoya has served as a Director of WaMu since
2006.
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h. Defendant Michael K. Murphy has served as a Director of WaMu since

1985.

i. Defendant Margaret Osmer McQuade has served as a Director of
WaMu since 2002.

j. Defendant Mary E. Pugh has served as a Director of WaMu since 1999,

k. Defendant William G. Reed, Jr. has served as 2 Director of WaMu since

1970.
I. Defendant Orin C. Smith has served as a Director of WaMu since 2005.
m. Defendant James H. Stever has served as a Director of WaMu since
1991,

18. Asis explained in more detail below, the Board had certain responsibilities with

-respect to the Plan, including appointment and oversight responsibilities, and the Board and its

members were therefore fiduciaries of the Plan. The Board and its members listed above are
referred to as the “Director Defendants.”

19. Human Resources Committee Defendants. As explained in more detail below,
the Human Resources Committee of the Board of Directors (“HR Committee”) had certain
responsibilities with respect to the Plan, including appointment and oversight responsibilities,
and the HR Committee and its members were therefore fiduciaries of the Plan. The Defendants
identified in this paragraph are referred to as the “HR Committee Defendants.” On information
and belief, the HR Committee Defendants are as follows:

a. Defendant Stever has served as a member of the HR Committee during

the Class Period and is the Committee’s Chairman.

b. Defendant Frank has served as a member of the HR Committee during
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the Class Period.

c. Defendant Lillis has served as a member of the HR Committee during the
Class Period.

d. Defendant Matthews has served as a member of the HR Committee
during the Class Period.

e. Defendant Osmer McQuade has served as a member of the HR

Committee during the Class Period.

20. Plan Investment Committee Defendants. As explained in more detail below,
the Investment Committee Defendants have the responsibility for selecting the investment funds
in the Plan and were assigned the responsibility for monitoring the performance of those funds
by the Company, the Board and/or the HR Committee. The identities of the Investment
Committee Defendants are currently unknown to Plaintiffs and are therefore named fictitiously
as John and Jane Does 1-10. Once the identities of the Investment Committee Defendants are
ascertained, Plaimtiff will seek leave to join them under their true names. The Investment
Committee Defendants (John and Jane Does 1-10) are referred to as the “Investment Committee
Defendants.”

21. Plan Administration Committee Defendants. As explained more fully below,

on information and belief, the Plan assigns certain fiduciary responsibilities and duties to the

~ Plan Administration Committee. The Administration Committee members have full authority

and power to administer and construe the Plan. On information and belief, the individual
Administration Committee Defendants are as follows:
(a). Defendant Daryi D. David has served as a member of the Administration
Committee during the Class Period.

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22. The identities of the remaining members of the Administration Committee are
currently unknown to the Plaintiff and are therefore named fictitiously as John and Jane Does 11-
20. Once the identities of additional Administration Committee members are ascertained,
Plaintiff will seek leave to join them under their true names. The Administration Committee and
its members (Defendant David and John and Jane Does 11-20) are referred to as the
“Administration Committee Defendants.”

V. THE WAMU SAVINGS PLAN

23. The Plan, sponsored by WaMu, is an “employee pension benefit plan,” as defined
by § 3(2)(A) of ERISA, 29 U.S.C. § 1002(2)(A). The Plan is a legal entity that can sue and be
sued. ERISA § 502(d)\(1), 29 U.S.C. § 1132(d)(1). However, in a breach of fiduciary duty
action such as this, the Plan is neither a defendant nor a plaintiff. Rather, pursuant to ERISA
§ 409, 29 U.S.C. § 1109, and the law interpreting it, the relief requested in this action is for the
benefit of the Plan and its participants and beneficiaries.

24. The assets of an employee benefit plan, such as the Plan here, must be “held in
trust by one or more trustees.” ERISA § 403(a), 29 U.S.C. § 1103(a). During the Class Period,
the assets of the Plan were held in a trust fund administered by Fidelity Management Trust
Company, the Plan’s Trustee. See WaMu Savings Plan Summary Plan Description (Jan. 2007)
(hereinafter the “SPD”) at 32.

25. The Plan became effective on July 1, 1973. The purpose of the Plan is to
encourage employees to accumulate capital for their retirement. See WaMu Savings Plan as
Amended and Restated Effective January 31, 2006 (hereinafter the “Plan Document’).

26. Employees are eligible to participate in the Plan at commencement of their
employment. fd. § 2.2.

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27. Individual accounts are maintained for each Plan participant. Participants’
accounts are credited with Employer and Participant-directed contributions and earnings,
expenses, gains and losses. /d. § 9.1

28. Throughout the Class Period, participants in the Plan were permitted to defer a
percentage of their base compensation for investment in the Plan. Plan participants are allowed
to contribute between 1% and 75% of their compensation, up to the annual maximum
permissible under the Internal Revenue Code. fd. § 4.1.

29. Effective January 1, 2004, the Company matches: (a) 100% of a participant’s
contributions that does not exceed 3% of the participant’s considered compensation for the Plan
Year; plus (b) 50% of a participant’s contribution in excess of the first 3% of the participants
considered compensation, up to 5% of a participant’s considered compensation for the Plan
Year, for a maximum total matching contribution of 4% of a participants considered
compensation for the Plan Year. /d. § 5.1.

30. Effective January 1, 2004, a Profit Sharing Contribution may be made in an
amount, if any, determined by the Employer, in its sole and absolute discretion. id. § 5.2.

31. The Plan fiduciaries, by and through the Investment Committee, select the
investment options made available to participants of the Plan. /d. § 10.1. The Plan fiduciaries,
by and through the Investment Committee, are provided with authority to change Plan
investment options from time to time in their discretion. /d. §§ 10.1, 12.2(c). The Plan does not
limit the fiduciaries’ ability to change investment options.

32. The Company Stock Fund is one of the investment options selected by the Plan
fiduciaries. Nothing in the Plan requires this option, or as noted above, limits the ability of the
Plan fiduciaries to remove the option, or divest assets invested in the option as prudence dictates.

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33. Plan participants direct the investment of their contributions and the Company
matching and profit sharing contributions among the various investment options in the Plan. Id
§ 10.3.

34. The Plan designated the portion of the Plan invested in WaMu common stock as a
purported Employee Stock Ownership Program (“ESOP”}. See SPD at 20.

35. An employee stock ownership plan is an ERISA plan that is designed to invest
primarily in “qualifying employer securities.” 29 U.S.C. § 1107(d)(6)(A). As with a 401(k) plan
without an ESOP component, fiduciaries of an ESOP remain bound by core ERISA fiduciaries
duties, including the duties to act loyally, prudently, and for the exclusive purpose of providing
benefits to plan participants.

36. The Plan has incurred substantial losses as a result of the Plan’s investment in
WaMu.common stock. As of December 31, 2006, the Plan held approximately 8 million shares
of WaMu common stock, then having a market value of approximately $341.4 million. See
WaMu Savings Plan, Annual Report (Form 11-K’”) at 14 (Dec. 31, 2006) (hereinafter the “2006
Form 11-K”), Following revelations that WaMu failed to establish adequate reserves for its loan
losses due to subprime lending and participated in the manipulation of loan originations, among
other improper practices, WaMu common stock has collapsed. The price of WaMu stock has
dropped approximately 60 percent since the beginning of the Class Period.

VI. DEFENDANTS’ FIDUCIARY STATUS
A. The Nature of Fiduciary Status.

37, Named Fiduciaries. Every ERISA plan must have one or more “named
fiduciaries.” ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1). The person named as the
“administrator” in the plan instrument is automatically a named fiduciary, and in the absence of

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such a designation, the sponsor is the administrator, ERISA § 3(16)(A), 29 US.C.
§ 1002(16)(A).

38. De Facto Fiduciaries. ERISA treats as fiduciaries not only persons explicitly
named as fiduciaries under § 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who
in fact perform fiduciary functions. Thus a person is a fiduciary to the extent “(i) he exercises
any discretionary authority or discretionary control respecting management of such plan or
exercises any authority or control respecting management or disposition of its assets, (11) he

renders investment advice for a fee or other compensation, direct or indirect, with respect to any

. moneys or other property of such plan, or has any authority or responsibility to do so, or (111) he

has any discretionary authority or discretionary responsibility in the administration of such plan.”
ERISA § 3(21)(A)G), 29 U.S.C. § 1002(21)(A)(i).

39. Each of the Defendants was a fiduciary with respect to the Plan and owed
fiduciary duties to the Plan and the participants and beneficiaries under ERISA in the manner
and to the extent set forth in the Plan’s documents, through their conduct, and under ERISA.

. 40. As fiduciaries, Defendants were required by ERISA § 404(a)(1), 29 U.S.C.
§ 1104(a)(1), to manage and administer the Plan, and the Plan’s investments solely in the interest
of the Plan’s participants and beneficiaries and with the care, skill, prudence, and diligence under
the circumstances then prevailing that a prudent man acting in a like capacity and familiar with
such matters would use in the conduct of an enterprise of a like character and with like aims.

41. Plaintiff does not allege that each Defendant was a fiduciary with respect to all
aspects of the Plan’s management and administration. Rather, as set forth below, Defendants

were fiduciaries to the extent of the specific fiduciary discretion and authority assigned to or

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exercised by each of them, and, as further set forth below, the claims against each Defendant are
based on such specific discretion and authority.

42. Instead of delegating all fiduciary responsibility for the Plan to external service
providers, WaMu chose to assign the appointment and removal of fiduciaries to itself and the
other monitoring Defendants named herein. These persons and entities in turn selected WaMu
employees, officers and agents to perform most fiduciary functions.

43. ERISA permits fiduciary functions to be delegated to insiders without an

automatic violation of the rules against prohibited transactions, ERISA § 408(c)(3), 29 U.S.C.

§ 1108(c)(3), but insider fiduciaries, like external fiduciaries, must act solely in the interest of
participants and beneficiaries, not in the interest of the Plan sponsor.
B. WaMu?’s Fiduciary Status.

44. The Plan Document states that WaMu or the Board of Directors are authorized to
appoint, and hence to monitor and remove, the members of the Investment Committee. Plan
Document § 2.39. As Department of Labor regulations make clear, these are fiduciary functions
under ERISA. 29 C.F.R. § 2509.75-8 (D-4).

45. | WaMu also had the responsibility to appoint, and hence to monitor and remove,
the Trustee, and, upon information and belief, to execute the Trust documents with the Trustee to
provide for the investment, management and control of the assets of the Plan. Plan Document §
11.2.

46. Moreover, WaMu, at all applicable times, on information and belief, has
exercised control over the activities of its employees that performed fiduciary functions with
respect to the Plan, including the Investment Committee Defendants and Administration
Committee Defendants, and, on information and belief, can hire or appoint, terminate, and

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replace such employees at will. WaMu is, thus, responsible for the activities of its employees
through traditional principles of agency and respondeat superior liability.

47. Finally, under basic tenants of corporate law, WaMu is imputed with the
knowledge that the Defendants had regarding the misconduct alleged herein, and, hence, like the
fiduciaries who acted on WaMu’s behalf, had knowledge of the imprudent actions alleged
herein.

48. Consequently, in light of the foregoing duties, responsibilities, and actions,
WaMu was a fiduciary of the Plan within the meaning of ERISA § 3(21), 29 U.S.C. § 1002(21),
during the Class Period in that it exercised discretionary authority or discretionary control
respecting management of the Plan, exercised authority or control respecting management or
disposition of the Plan’s assets, and/or had discretionary authority or discretionary responsibility
in the administration of the Plan.

Cc, The Director Defendants Fiduciary Status.

49. WaMu, as a corporate entity, cannot act on its own without any human
counterpart. In this regard, during the Class Period, on information and belief, WaMu relied and
continues to rely directly on the Board of Directors to carry out its fiduciary responsibilities
under the Plan and ERISA.

50. Specifically, the Director Defendants were responsible for appointing, and hence
monitoring, and removing, the members of the Investment Committee. /d at 2.39. Thus,
according to Department of Labor regulations, the Director Defendants, exercised a fiduciary
function under ERISA. 29 C.F.R. § 2509.75-8 (D-4).

51. Consequently, in light of the foregoing duties, responsibilities, and actions, the
Director Defendants were fiduciaries of the Plan within the meaning of ERISA § 3(21), 29

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U.S.C. § 1002(21), during the Class Period in that they exercised discretionary authority or
discretionary control respecting management of the Plan, exercised authority or control
respecting management or disposition of the Plan’s assets, and/or had discretionary authority or
discretionary responsibility in the administration of the Plan,

D. HR Committee Defendants’ Fiduciary Status.

52. The Director Defendants established the HR Committee to act as a fiduciary to
“[o]versee the management of any Plan trust funds and periodically review the performance of
the funds and the investment managers of the funds for the purpose of assessing their
effectiveness.” See HR Committee Charter at 1. The HR Committee reported to the Board of
Directors, which retained decision-making authority on behalf of the Company. HR Committee
Charter.

53. The scope of the HR Committee’s responsibilities are not entirely clear from the
Plan Document. Whereas the Plan charges “WaMu or the Board” with responsibility for
appointing the Investment Committee, the Plan subsequently states that The HR Committee is
responsible for appointing “a Plan Administration Committee and a Plan Investment
Committee.” Compare Plan Document § 2.38 and § 12.1. To the extent that the HR Committee
exercised responsibility for appointing, monitoring, and removing other Plan fiduciaries,
according to Department of Labor regulations, the HR Committee Defendants exercised a
fiduciary function under ERISA. 29 C.F.R. § 2509.75-8 (D-4).

54. Consequently, in light of the foregoing duties, responsibilities, and actions, the
HR Committee Defendants were de facto fiduciaries of the Plan within the meaning of ERISA §
3(21), 29 U.S.C. § 1002(21), during the Class Period in that they exercised discretionary
authority or discretionary control respecting management of the Plan, exercised authority or

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control respecting management or disposition of the Plan’s assets, and/or had discretionary
authority or discretionary responsibility in the administration of the Plan.
E. Investment Committee Defendants’ Fiduciary Status.

55. The Plan provides that the Investment Committee is a “Named Fiduciary” for
purposes of § 402(a) of ERISA. The Investment Committee Defendants had the responsibility of
selecting the investments in the Plan and monitoring the performance of the investment funds,
including the Company Stock Fund in the Plan. Plan Document §§ 10.2(a), 12.2(c).

56. The Investment Committee also is authorized to “change the investment funds
from time to time in its discretion.” fd. § 10.2(a).

57. In addition, the Investment Committee has the following powers and duties:

i. To direct the Trustee in the investment, reinvestment, and disposition of
the Trust, including the investment of up to 100% of the Trust in
qualifying employer securities. (as defined in section 407(d)(5) of ERISA)
without regard to the limitations of ERISA sections 407(a)(2), (3), or (4),

as provided in the Trust Agreement;

li. To review, select or remove, and monitor investment funds and fund
managers;

ili. To receive and review reports of the financial condition and of the receipts
and disbursements of the Trust from the Trustee;

iv. To furnish the Employer with information which the Employer may
require for tax or other purposes;

v. To engage the services of or remove an Investment Manager or Managers
(as defined in ERISA section 3(38)), each of whom shall have full power
and authority to manage, acquire or dispose (or direct the Trustee with
respect to acquisition or disposition) of any Plan asset under its control;
and

vi. To interpret and construe the Plan with respect to the investment,
reinvestment, and disposition of Plan assets.

Plan Document § 12.2(c).

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58. The Plan’s Form 11-K states that the HR Committee “delegated its duties with
respect to Plan investments to the Plan Investment Committee.” 2006 11-K at 8.

59. Consequently, in light of the foregoing duties, responsibilities, and actions, the
Investment Committee Defendants were named fiduciaries of the Plan pursuant to ERISA §
402(a)(1), 29 U.S.C. § 1102(a)(1), and de facto fiduciaries within the meaning of ERISA § 3(21),
29 U.S.C. § 1002(21), in that they exercised discretionary authority or discretionary control
respecting management of the Plan, exercised authority or control respecting management or
disposition of the Plan’s assets, and/or had discretionary authority or discretionary responsibility

in the administration of the Plan.

F, Administration Committee Defendants’ Fiduciary Status.

60. The Plan provides that the Administration Committee is a “Named Fiduciary” for
purposes of § 402(a) of ERISA. The Plan alse provides that the Administration Committee is the
“Plan Administrator,” and that it shall have the following powers and duties:

i. Make and enforce such rules and regulations as it shall deem necessary or
proper for the efficient administration of the Plan;

ii. Interpret the provisions of the Plan and resolve any question arising under
the Plan, or in connection with the administration or operation thereof;

iii. Make all determinations affecting the eligibility of any Employee to be or
become a Participant;

iv. Determine eligibility for and amount of retirement benefits for any
Participant;

v. Authorize and direct the Trustee with respect to all disbursements of
benefits under the Plan;

vi. Employ and engage such persons, counsel and agents and to obtain such
administrative, clerical, medical, legal, audit and actuarial services as it
may deem necessary in carrying out the provisions of the Plan;

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vil. Delegate and allocate specific responsibilities, obligations and duties
imposed by the Plan to one or more employees, officers or such other
persons as the Plan Administrator deems appropriate; and

vill. Amend the Plan for changes in the laws or regulations related to the Plan,
to clarify any provisions in the Plan or correct any errors in the document,
to simply administration or for administrative convenience, and for any
other reason provided that with respect to an amendment .for any other
reason., the delegate reasonably believes that the amendment will not have
the impact of significantly increasing the cost or potential liability
exposure of the Plan to the Employer. The authority set forth in this
section 12.2(b){viii) may be delegated only to a senior executive of the
Company.

Plan Document § 12.2(b).

61. Moreover, upon information and belief, in order to comply with ERISA, during at
least part of the Class Period the Administration Committee exercised responsibility for
communicating with participants regarding the Plan in a plan-wide, uniform, mandatory manner,
by means of the Plan’s SPDs. See ERISA § 101(a)(1) (requiring the plan administrator to
furnish to each participant covered under the plan and to each beneficiary who is receiving
benefits under the plan a summary plan description).

62. The SPDs and, on information and belief, other information disseminated by the
Administration Committee to the participants of the Plan incorporated by reference the SEC
filings described below, which contained misleading information regarding the financial
condition of WaMu and its results of operations.

63. Consequently, in light of the foregoing duties, responsibilities, and actions, the
Administration Committee Defendants were both named fiduciaries of the Plan pursuant to

ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1), and de facto fiduciaries within the meaning of

ERISA § 3(21), 29 U.S.C. § 1002(21), in that they exercised discretionary authority or

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discretionary control respecting management of the Plan, exercised authority or control
respecting management or disposition of the Plan’s assets, and/or had discretionary authority or
discretionary responsibility in the administration of the Plan.
VIL. FACTS BEARING ON FIDUCIARY BREACH

A. WaMu Was an Imprudent Investment for the Plan during the Class Period Because

of its Serious Mismanagement, Precipitous Decline in the Price of its Stock and its

Rapidly Deteriorating Financial Condition.

1, Summary.

64. During the Class Period, WaMu stock became an imprudent: investment for
participants’ retirement savings because of, inter alia, the Company’s highly risky and
inappropriate origination practices and related financial mismanagement, which artificially
inflated the value of WaMu stock and exposed the Plan to huge losses.

65. | WaMu’s inappropriate origination practices and related mismanagement concern,
among other problems, the Company’s: (1) increasingly risk-fraught lending practices; (2) lack
of adequate risk-management controls over its improper lending practices contributing to high
delinquency and foreclosure rates among borrowers; (3) role in the systematic inflation of
property appraisals during the loan origination process; and (4) misrepresentations regarding the
Company’s financial condition, which caused the price of WaMu stock to be artificially inflated
during the Class Period.

66, Throughout the Class Period, the Company suffered from grave mismanagement
and corresponding deterioration of its financial condition. As the consequences of this conduct
have come to light, WaMu’s share price has lost 60 percent of its value. Accordingly, under
these circumstances, investment in WaMu stock was imprudent, as reflected in the enormous

losses suffered by the Plan.

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2, The Rise of the Subprime Lending Industry.

67. WaMu, like the mortgage banking industry as a whole, experienced rapid growth
in mortgage loan revenue in recent years. Between 2003 and 2005, WaMu’s production of
subprime loans increased from $14.1 billion to $34.5 billion. Annual Report (Form 10-K) (Dec.
31, 2005) (hereinafter the “2005 Form 10-K”).

68. Industry experts have attributed the proliferation of subprime loans to a
confluence of factors in 2004 and 2005, including rising home prices, declining affordability,
historically low interest rates, intense lender competition, innovations in the structure and
marketing of mortgages, and an abundance of capital from lenders and mortgage securities
investors. See Sandra L. Thompson, Dir., Div. of Supervision and Consumer Prot., Testimony
Before the Committee on Banking, Housing and Urban Affairs, U.S. Senate: Federal Deposit
dnsurance Corporation on Mortgage Market Turmoil: Causes and Consequences, Mar. 22, 2007,
available at http://www fdic.gov/news/news/speeches/chairman/ spmar2207 1 html.

69. Upon information and belief, in 2004, as interest rates began to climb, the pool of
potential prime borrowers looking to refinance began to dry up and lenders began extending
loans to subprime borrowers with troubled credit histories in an effort to maintain or grow
market share in a declining origination environment.

70. To take advantage of this new market, lenders weakened their underwriting
standards, including:

(a). reducing the minimum credit score borrowers need to qualify for certain
loans;

(b). allowing borrowers to finance a greater percentage of a home’s value or to

carry a higher debt load;
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(c). introducing new products designed to lower borrowers’ monthly payments
for an initial period; and
(d). allowing borrowers to take out loans with little, if any, documentation of

income and assets.

See Ruth Simon, Mortgage Lenders Loosen Standards — Despite Growing Concerns, Banks

Keep Relaxing Credit-Score, Income and Debt-Load Rules, Wall St. J., July 26, 2005, at D1.

71. In addition to lowering underwriting standards, lenders introduce new loan

products, which enticed borrowers but also put them at greater risk of default:

(a). No-documentation and low-documentation loans: Known in_ the
industry as “liar loans,” the practice of requiring little or no documentation from
borrowers constituted as much as 40 percent of subprime mortgages issued in
2006, up from 25 percent in 2001. See Gretchen Morgenson, Crisis Looms in
Mortgages, N.Y. Times, Mar. 11, 2007.

(b).  Piggy-back loans: These combine a mortgage with a home-equity loan or
line of credit, allowing borrowers to fmance more than 80 percent of the home’s
value without paying for private mortgage insurance. As of 2006, about half of
all subprime loans included “piggyback” loans, and on average all borrowers
financed 82 percent of the underlying value of their property, markedly up from
48 percent in 2000. See /d.; James R. Hagerty & Ruth Simon, Home Lenders
Pare Risky Leans — More Defaults Prompt Cut in ‘Piggyback’ Mortgages;
Housing Market May Suffer, Wall St. J., Feb. 14, 2007, at A3.

(c). Interest-only mortgages: These allow borrowers to pay interest and no
principal in the loan’s early years, which keep payments low for a time, but

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require that the deferred payment of principal be made in the future through
increased monthly or balloon payments.

(d). Option adjustable-mortgages: The most prevalent of which are hybrid
adjustable rate mortgages (“ARMs”), the loans are marketed with promotional or
“teaser” rates during the loan’s introductory period that later balloon to much
higher rates once the introductory period has ended. ARMs currently account for
between one-half and one-third of subprime mortgages. See Testimony of Roger
T. Cole, Director, Division of Banking Supervision and Regulation, The Federal
Reserve Board, Mortgage Markets, Before the Committee on Banking, Housing
and Urban Affairs, U.S. Senate, Mar. 22, 2007, available at
http://www.federalreserve.gov/boarddocs/testimony/2007/20070322/default.htm.

3. The Fall of the Subprime Lending Industry.

72. As early as 2004, industry watchdogs began expressing growing fears that relaxed
lending practices were increasing risks for borrowers and lenders in overheated housing markets.
See Simon, Mortgage Lenders, supra. As lenders made it easier for borrowers to qualify for a
loan by such practices as described above, they were also greatly increasing the likelihood that
borrowers would be unable to make payments, and that defaults would rise. Of particular
concem was the prevalence of adjustable-rate loans, which, in combination with the lowered
lending standards, were more likely to result in borrowers’ early payment defaults.

73. In May 2005, bank regulators issued their first-ever guideline for credit-risk
management for home-equity lending and, in December 2005, new guidelines for mortgage
lenders were issued as well. /d.; Testimony of Sandra L. Thompson, supra. The proposed
“Interagency Guidance on Nontraditional Mortgage Product Risks” sent a clear message to the

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marketplace that bank regulators were concerned about the lessened underwriting standards and
general lax risk management practices of subprime lenders.

74. In 2005 and 2006, the Federal Reserve instituted a series of interest rate hikes and
the interest rates on variable rate loans, including mortgage loans, began to rise. Subprime
borrowers who were able to afford the initially low “teaser rate” loan payments no longer could
meet their monthly payment obligations. At the same time, home values began to decline
sharply, leading some borrowers to walk away from loans when they could not afford the
increased monthly mortgage and could not readily re-sell the property for a profit. As a result,
many borrowers no longer paid their mortgages, causing defaults to increase significantly.

75. As of mid-2005, delinquency rates for subprime loans (60-days or more past due)
rose for the first time since 2002. By the fourth quarter of 2005, delinquencies and foreclosures
began to rise even more severely -- as of October 2005 the delinquency rate was twice that
recorded on new subprime loans a year earlier. See Simon & Hagerty, More Borrowers, supra.

76. According to the FDIC, total subprime delinquencies rose from 10.33 percent in
the fourth quarter of 2004 to 13.33 percent in the fourth quarter of 2006 and foreclosures rose
from 1.47 percent to 2.0 percent over the same period. Testimony of Sandra L. Thompson,
supra.

77. AMR subprime loans accounted for the largest rise in delinquency rates, an
increase from 9.83 percent to 14.44 percent between the fourth quarter of 2004 and the fourth
quarter of 2006; whereas foreclosures rose from 1.5 percent to 2.7 percent during the same
period. Jd.

78. In 2006 alone, roughly 80,000 subprime borrowers fell into delinquency, many
shortly after origination. See Simon & Hagerty, More Borrowers, supra.

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79. The imminent collapse of the subprime lending industry was widely-documented.
In December 2006, the Center for Responsible Lending issued a report predicting the worst
foreclosure crisis in the modern mortgage market. Ron Nixon, Study Predicts Foreclosure For 1
In 5 Subprime Loans, N.Y. Times, Dec. 20, 2006. Shortly after, several major mortgage lenders
disclosed extraordinary rates of loan defaults, triggering inquiries from SEC and FDIC, and
resulting in several bankruptcy filings.

4, WaMu Engaged in Risky and Inappropriate Subprime Lending Practices
and Serious Mismanagement.

80. Despite the many warnings issued by industry analysts and government
regulators, as well as other negative indicators, such as rising interest rates and a cooling housing
market, for much of the Class Period, WaMu continued to engage in risky and inappropriate
lending practices and to make inaccurate prognostications about its financial future.

a. WaMu Shifts Its Focus to the High-Risk Subprime Market.

81. During the real estate industry’s rapid growth from 2002 - 2005, WaMu grew its
mortgage business substantially, recording record levels of revenue in 2005. However, WaMu,
which sold its direct subprime lending business to Citigroup in 2003, was late to expand into the
subprime lending business.

82. | WaMu’s subsidiary, Long Beach Mortgage, experienced strong growth in the
subprime lending market, which prompted WaMu executives to target the broader subprime
market for expansion.

83.  Inits 2005 Annual Report, WaMu announced that:

The Company remains committed to the subprime mortgage market and
intends to increase the loan volume of its subprime mortgage business,
Long Beach Mortgage Company, and to maintain the size of its purchased

subprime home loan portfolio. A portion of the Company’s Card Services
portfolio is made up of subprime credit card loans and Card Services may

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continue to originate a portion of its credit card loans to subprime
borrowers. If unemployment were to rise or either a slowdown in housing
price appreciation or outright declines in housing prices were to occur,
subprime borrowers, who tend to have greater vulnerability to such
changes than prime borrowers, may be unable to repay their loans and the
credit performance of the Company’s subprime portfolios could suffer,
with a potential adverse effect on earnings.

2005 Form 10-K at 4.

84.

decision to make subprime lending a prominent part of its business operations. As The Seattle

Even then, industry observers questioned both the efficacy and timing of WaMu’s

Times reported in November 2005:

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For anyone who thinks of Washington Mutual as a buttoned-down bank
dishing up only plain-vanilla loans, meet Long Beach Mortgage.

The WaMu subsidiary is one of the country’s largest lenders to people
with damaged credit.

That’s not the kind of business most folks associate with WaMu, a
conservative institution with roots in the meat-and-potatoes thrift industry.
By dipping into subprime lending — a term that refers to borrowers who
can’t get best, or prime, rate -- WaMu has moved into an arena that was
once dominated by specialty lenders, such as Household Finance and The
Money Store.

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Long Beach made more than a quarter of all WaMu home-purchase loans
last year, and [CEO] Killinger wants the business to grow faster than
WaMvw’s traditional mortgage lending.

For one thing, it’s more profitable.

“We ear better margins in the subprime business because we're very
efficient and have an advantage over some competitors,” he said.

That does not appease analysts who worry about what will happen when
interest rates go up and borrowers have a harder time making payments.

“T hate the business,” said Richard Bove, an analyst with Punk, Ziegel &
Co. “Asking people who can’t afford to buy something to pay up to buy
that product is a concept that, for me, doesn’t work.”

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Long Beach is one of the top 10 subprime mortgage lenders in the country
and growing fast. It made loans of $8.4 billion in the third quarter, more
than twice its volume a year earlier. And it has added about 900 of its
2,900 employees in the past year.

WaMu sells many of Long Beach’s loans to investors, and it buys
subprime mortgages from other lenders as investments. About 10 percent
of the loans in its portfolio at the end of the quarter were subprime.

Robert Napoli, an analyst at Piper Jaffray, asked executives on a recent
conference call why they want to expand the subprime area.

“Tt seems that margins in the industry are, for the most part, at record
lows, so it seems that maybe this isn’t the best time to be aggressively
growing the business,” Napoli said.

Melissa Allison and Justin Mayo, WaMu Has Stake In Risky, Sub-Prime Arena, The
Seattle Times, Nov. 13, 2005.

85. WaMu decided to expand its subprime business despite the cooling housing
market and despite the fact that the subprime lending is a notoriously dodgy segment of the
mortgage industry. In fact, prior to its acquisition by WaMu, Long Beach Mortgage had been
sued by the United States Department of Justice for violations of the Fair Housing Act and
related discriminatory practices. See Settlement Agreement, Sept. 5, 1996, available at
http://www.usdoj.gov/crt/housing/documents/longbeachsettle.htm.

86. Turnover of key personnel exacerbated the risk posed by WaMu’s increased
exposure to subprime. In November 2005, WaMu announced the retirement of its Chief
Enterprise Officer, James Vanasek. See Current Report (Form 8-K) (Nov. 2, 2005) at Ex. 99.1,
Then, in late December 2005, WaMu announced a dramatic re-alignment of its subprime lending
oversight, and that Craig Chapman, then-president of the group responsible for overseeing
subprime, would leave WaMu in January 2006. WaMu touted the operating efficiencies that this
shift would produce and assured investors that “we have a strong and experienced leadership

team that recognizes the unique characteristics of the subprime business.” See Current Report

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(Form 8-K) (Dec. 21, 2005) at Ex. 99.1.

87. Despite these factors, WaMu consistently represented throughout the Class Period
that it had implemented and maintained adequate internal controls and sufficient risk
management strategies. See Quarterly Report (Form 10-Q) (June 30, 2006) at 59; Quarterly
Report (Form 10-Q) (Sept. 30, 2006) at 58; 2006 Form 10-K at 3.

88. During this period, WaMu dramatically increased both its origination of subprime
mortgages and its securitization and resale of those mortgages to other banks and investors. The
short-term revenue and profit gains appeared promising. In 2005, revenue from sales and
servicing of home mortgage loans grew to $1.79 billion, compared with $1.47 billion in 2004.
WaMu attributed the improved performance to increased sales of the Company’s Option ARM
product. See Current Report (Form 8-K) (Jan. 18, 2006) at Ex. 99.1.

8&9. The Company’s 2005 results also showed that mortgage-lending boom had run
out of steam. Revenue from sales and servicing of home mortgage loans, mortgage sales and
servicing revenue fell from $497 million in the third quarter to only $264 million in the fourth
quarter. Jd, Despite the declining revenue and deteriorating market conditions, including a
cooling market and interest rate increases, WaMu chose to expand its subprime operations, as
alleged supra.

5. WaMu Continued to Offer Subprime Loans Despite the High Risk of
Default or Foreclosure.

90. Even after the risks of subprime lending were indisputably known, WaMu
continued to extend subprime loans to borrowers which contained many of the weakened lending
terms discussed in Section VII(A)(2), supra. WaMu’s aggressive marketing of these loans

resulted in massive increases in loan delinquencies and foreclosures and put the financial health

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of the Company in jeopardy.

91.

subprime lenders in the country. See Nat’! Mortgage News Online, available at

For every quarter since Q2 2006, WaMu has ranked as one of the largest

http://data.nationalmortgagenews.com.

92,

risky business practices, as management publicly recognized the impact of the deteriorating

Not until early 2007 did WaMu begin to acknowledge the dire consequences of its

housing market on its business and increased its forecast for losses due to loans.

93.

The Wall Street. Journal reported on what would become a quarterly habit, the

Company’s substantially increasing its forecast for loan losses:

WaMu's mortgage unit was hit hard by the slowing housing market. The
thrift's subprime mortgage business, which lends to customers with
blemished credit, was hurt as more borrowers struggled to make their
payments and more loans became delinquent.

"Subprime encountered significant difficulties," Chief Executive Kerry
Killinger said, citing a mix of a slowing housing market, overcapacity in
the sub-prime mortgage-origination industry and credit deterioration.

The Seattle bank now forecasts that its overall provision for loan and
credit-card losses this year would reach between $1.1 billion and $1.2
billion, up from the $850 million to $950 million it had projected in
October. In addition to worsening subprime credit quality, WaMu also
attributed the increase to an accounting change for credit-card loans held
for sale, among other factors. But management stressed that its credit-card
portfolio has performed very well.

Ann Carms, Earnings Digest: WaMu Net Rises On Sale of Unit; Revenue Declines, Wall
St. J., Jan.18, 2007.

94,
95.
focus two months later, when the Company issued its Annual Report, which detailed the marked

increase in delinquencies and loan foreclosures for the subprime loans the Company was

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On January 18, 2007, WaMu's stock price closed at $44.26 per share.

The results of WaMu’s aggressive and risky lending practices came in sharper

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servicing. 2006 Form 10-K (Dec. 31, 2006).

96. In April, WaMu announced a 20% decline in first quarter profit and once again
revised its estimated losses due to bad loans — this time nearly tripling its estimate for loan
losses. The Wall Street Journal reported:

Washington Mutual Inc., taking a beating from the cratering subprime-
mortgage sector amid a housing downturn, said first-quarter profit fell
20%.

The Seattle thrift, the largest U.S. savings and loan by stock-market value,
nearly tripled its provision for loan losses, to $234 million from $82
million, as its home-loans business swung to a loss of $113 million from a
profit of $52 million a year ago.

Chief Executive Kerry Killinger said the thrift has curtailed its subprime-
mortgage lending by 51% from the prior-year quarter to reduce its
exposure. The thrift also stopped buying mortgages from smaller
“correspondent” lenders be-cause it has less control over loan
underwriting in that business.

WaMu ranked 11th last year in originating subprime mortgages, as home
loans to borrowers with weak credit are called, according to Inside
Mortgage Finance, a Bethesda, Md., industry newsletter.

Also, among the top-five U.S. home-mortgage lenders, WaMu last year
made the highest percentage of loans to investors or second-home buyers,
according to a Wall Street Journal analysis of data filed with banking
regulators. Such loans are generally considered riskier than those to
owner-occupants.

"Our home-loans business was challenged during the first quarter by
difficult market conditions,” Mr. Killinger said in a statement. He said the
steps taken so far should position the thrift to grow as the market
improves.

Ann Carms, Earnings Digest: Washington Mutual Earnings Slide on Home-Loan Losses,
Wall St. J., Apr. 18, 2007.

97. Defendant Killinger attempted to assure investors:
“Over the past 12 months, we have taken a number of prudent actions to
reduce our exposure to the subprime mortgage industry,” Mr. Killinger

said in a statement. "These actions, along with a diversified business mix,

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limited our exposure to the mortgage market's downturn and position us
well to expand and grow as market conditions improve.”

Bad Loans Inhibit Profits At Three Regional Banks, Associated Press, Apr. 18, 2007.

98. Killinger also opined that the mortgage crisis presented WaMu with an
opportunity:
With a number of competitors going out of business, we’re now able to
have better pricing, and the credit quality of the loans being originated

thus far in 07 is significantly better than in °06....It’s too early to declare
victory, but we are seeing encouraging signs.

Amy Martinez, Subprime Fallout Hits WaMu, The Seattle Times, Apr. 18, 2007.

99. Defendant Killinger reiterated his positive outlook in July 2007, when he
announced his expectation that the Company’s home loans group would return to profitability.
WaMu Beats Forecasts With 8.2% Profit Gain, The Seattle Times, July 18, 2007. In fact, the
full extent of WaMu's exposure to the mortgage market’s downturn had yet to be disclosed.

100. Just one month after Killinger’s assurance, the Company acknowledged that

liquidity had diminished significantly in the market for subprime-backed securities. WaMu's

share price lost 2.2 percent of its value, falling to $35.95 per. WaMu's Shares Decline on

Mortgage Woes, The Seattle Times, Aug. 11, 2007.
101. Despite the constant stream of negative results relating to its subprime operations,
WaMu continued to write the riskiest subprime loans as late as July 2007. Defendant Killinger
acknowledged so during an interview with reporters at San Francisco Chronicle:
But at significantly lower volumes. We tried to reduce our participation.
The conclusion we have made is that the slowdown in housing prices and
the risk of the housing market have increased this year, making the 2/28

and 3/27 products less appropriate than they’d been in the past. Those
products worked well when housing prices were continuing to increase,

Interview with Kerry Killinger, San Francisco Chronicle, Aug. 12, 2007.

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102. Killinger also admitted that lending standards had deteriorated during the
subprime boom:

Q: Why would anyone make a stated-income loan in the first place? Why
would a practice like that become the norm?

Q: From competitive pressures, from significant excess of capital
flooding into the business from Wall Street. That’s really what it was.
Severe competitive pressure leading to a loosening of underwriting
standards for the industry.

id.

103. On September 10, 2007, Defendant Killinger spoke at the Lehman Brothers 2007
Financial Services Conference and assured the market that WaMu had positioned itself “to be a
successtul in what is rapidly becoming a challenging business environment.” See Current Report
(Form 8-K) (Sept. 13, 2007) at Ex. 99.1.

104. Defendant Killinger lauded, among other things, the quality of loans held in the
Company’s investment portfolio. On a powerpoint slide, he assured investors that 82% of
WaMu’s home loans, including those made through the subprime mortgage channel, had loan-to-
value ratios of less than 80%. /d at Slide 12.

105. Two days later, WaMu announced that it was shuttering its erstwhile subprime
juggernaui, Long Beach Mortgage. Matthew Padilla, Washington Mutual Shutting Down
Anaheim Subprime Unit, The Orange County Register, Sept.14, 2007,

106. WaMu’s belated efforts to rein in its subprime business could not mitigate the
impact of its subprime binge. On October 5, 2007, WaMu announced a 75% drop in third-
quarter profit.

The other shoe dropped Friday for Washington Mutual, as the giant

Seattle-based thrift said the collapsed housing and mortgage markets will
lead to a 75 percent drop in third-quarter profit.

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As the nation’s housing bubble has deflated, WaMu’s stockpile of
delinquent loans, foreclosed properties and other non-performing assets
has risen — both in absolute terms, to more than $4 billion, and as a share
of its total assets, to 1.3 percent, as of June 30.

Drew DeSilver, WaMu Forecasts Big Drop in Profit, The Seattle Times, Oct. 6, 2007.

a. WaMu Concealed the Fact That Its Subprime Origination Practices
Artificially Inflated the Value of Its Loans.

107. On November 1, 2007, WaMu’s woes were exacerbated, when New York State
Attorney General Andrew Cuomo filed suit against First American Corp. (“First American”),
alleging that it had conspired with WaMu to artificially inflate property appraisals in connection
with WaMu’s origination of loans (hereinafter the “Attorney General Suit”). Available at
http://www.oag.state.ny.us/press/2007/nov/EA%20Complaint.pdf.

108. The Attorney General Suit alleges that, beginning m July 2006, WaMu pressured
First American and its affiliates to use certain “preferred appraisers” and that First American
responded by allowing “WaMu’s loan production staff to hand-pick appraisers who bring in
appraisal values high enough to permit WaMu’s loans to close, and improperly permits WaMu to
pressure [] appraisers to change values that are too low to permit loans to close....” /d. at 8.

109. The inflation of the property appraisals not only permitted WaMu to write loans
in circumstances where none should have been written, but also, by falsifying the key Loan-to-
Value ration, permitted WaMu’s inflation of the value of those loans whether kept as
investments or securitized and sold to third parties. As WaMu explains in its Annual Report:

Loan-to-value ratios are a key determinant of future performance. Home
loans with loan-to-value ratios of greater than 80 percent at origination
without private mortgage insurance or government guarantees expose the

Company to greater credit risk than home loans with loan-to-value ratios
of 80 percent or less at origination. This greater credit risk arises because,

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in general, both default risk and the severity of loss is higher when
borrowers have less equity to protect in the event of foreclosure.

2006 Form 10-K.

110. Put differently, not only did WaMu dramatically alter its risk exposure though
increasing its subprime lending exposure, it also purposefully exposed itself to higher risk loans
and more severe loss — without disclosing so — by participating in the manipulation of the
origination process.

111. In addition the potential liability for violating state and federal laws, these
fraudulent practices pose grave danger to WaMu’s financial condition. With regard to affected
loans that were sold to third-parties, WaMu is susceptible to the forced re-purchase of the loan
due to its breach of warranties regarding the loan’s origination process or subsequent
performance.

112. As set forth in the Company’s Annual Report:

In the ordinary course of business, the Company sells loans to third parties
and in certain circumstances ... retains credit risk exposure on those loans.
The Company may also be required to repurchase sold loans when

representations and warranties made by the Company in connection with
those sales are breached.

Id.

113. WaMu fares little better with regard to those loans it has kept as its own
investments. Discovery of the revised Loan-to-Value ration requires that WaMu recalculate the
value of the asset in its own portfolio. The heightened risk profile of the loans also means that
WaMu has insufficient reserves for loan losses.

114. On the heels of this news, WaMu’s stock price plummeted further, closing at
$20.04 per share, its lowest closing price in seven years. Jessica Mintz, Tough Looking 2008

Sinks WaMu Shares, Associated Press, Nov. 7, 2007.

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6. Throughout the Class Period, WaMu Failed to Sufficiently Reserve for
Various Liabilities and Obligations Related to Mortgages that it Securitized
or Sold. -

115. Even absent its participation in the manipulation of appraisals, WaMu’s financial
statements throughout the period failed to reflect the actual liabilities and losses to which the
Company was exposed.

116. As the credit squeeze tightened and mortgage woes escalated through late 2006
and into early 2007, WaMu failed to disclose and account for the increased risks it faced as a
result. The Company allocates allowances for loan and lease losses, and, as a specialized
subprime lender, WaMu expressly allocates allowances for losses from its subprime mortgage
channel. But as the subprime crisis loomed over the mortgage market, WaMu allocated /ess for

both general loan and lease losses and losses in its subprime mortgage channel in December 31,

2006 than it did in the prior year ending December 31, 2005 as demonstrated in the following

 

 

 

chart prepared by WaMu:
December 3,
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2006 Form 10-K at 61,

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117. WaMu retains subordinated interests in mortgages that it securitizes and makes
representations to buyers about performance and other characteristics of mortgages that it sells.
The Company’s Quarterly Reports for 2007 reveal that WaMu under-reserved for credit risk
arising from its retained subordinated interests and understated liabilities arising from
representations it made regarding sold mortgages.

118. For instance, between March 31, 2007 and September 30, 2007 the Company
increased its recorded reserves and liabilities despite a substantial decrease of the related assets
or revenue. From March 31, 2007 to September 30, 2007 WaMu's subordinated interests
decreased from $2.71 billion to $2.29 billion; during the same period, its allowance for loan and
lease losses mushroomed from $1.54 billion to $1.89 billion, an increase of more than 20%
despite the decrease in subordinated interests. See Quarterly Report (Form 10-Q) (Mar. 31,
2007) and Quarterly Report (Form 10-Q) (Sept. 30, 2007).

119. WaMu’s need to increase its loan loss provisions demonstrates that its previously
announced earnings and equity were inflated and did not properly account for the actual
condition of the Company’s loan holdings.

7. WaMu’s Financial Problems Come to Light.

120. On October 17, 2007, WaMu officially reported its third-quarter results and

dropped another bombshell regarding its losses on loans.
If you think the worst is over for mortgage lenders, a close look at
Washington Mutual’s balance sheet should dispel that notion pretty
quickly. The largest U.S. savings and loan stunned investors Oct. 17 when
it said it would set aside as much as $1.3 billion this quarter to cover

anticipated loan losses. The news came the same day Seatile-based
WaMu announced a 72 percent drop in third-quarter profit to $210.

Since then, its stock has fallen 28 percent.

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But the real wonder it that WaMu’s forecast for fourth-quarter loan-loss
provisions wasn’t substantially higher.

Jonathan Weil, Mortgage Mess Hitting WaMu Hard, Bloomberg News, Nov. 4, 2007.

121. According to Bloomberg’s Weil and other finance commentators, WaMu still has_
not come clean on its full exposure to risky subprime loans. Weil noted that WaMu’s third-
quarter “balance sheet maneuvers are a classic case of earnings management.” Jonathan Weil,
Countrywide, WaMu Play Shell Games, Bloomberg News, Nov. 4, 2007. WaMu shifted $17
billion of loans to its investment portfolio, which permitted it to avoid accounting for them based
on their current market value. According to Weil: “While the distinction may look arbitrary, the
effect on short-term earnings under the accounting rules can be huge when loan values are
falling, as they are now.” Jd.

122. On the basis of the Company’s third-quarter results, financial analysts have
panned WaMu. Between October 18 and October 22, four analysts downgraded the stock.
Lehman Brothers analyst Bruce Harting estimated WaMu’s loan losses for 2008 at $5 billion for,
topping his original estimate of $3.8 billion. Jessica Mintz, Tough Looking 2008 Sinks WaMu
Shares, Associated Press, Nov. 7, 2007.

123. The Company’s earnings management and incremental disclosure of its loan loss
exposure has failed to satisfy investors. The stock, which traded above $40 a share as recently as
June, fell to $19.39 on November 8, 2007. Asa local Seattle columnist noted:

At the close of trading Wednesday, WaMu stock finished at $20.04 a

share. That’s grim enough when put in historical context. That was the
lowest price since June 2000.

It’s even worse with a considerably shorter horizon. WaMu peaked at
$46.55 in November 2003. As recently as June this year, you could have
paid $44.41 a share.

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And it really gets ugly when looking back a few days. On Wednesday,
WaMu's stock dropped 17 percent from its Tuesday close, down $4.19 a
share; at one point during the trading day, it was actually below $20 a
share.

To sum up: In less than six months, WaMu has seen more than half of its
stock price melt away.

Bill Virgin, Waldu Executives Try to Rally Investors, Meet Skepticism, Seattle Post-
Intelligencer, Nov. 7, 2007.

124. Over the course of the Class Period, WaMu shares tumbled from $46.42 to
$18.30, a decline of 60 percent. As of November 19, 2007, WaMu shares were trading at their
lowest prices in over seven years.

B. Defendants Knew or Should Have Known That WaMu Stock Was an imprudent
Investment.

125. During the Class Period, as described herein, Defendants knew or, had they
properly discharged their fiduciary obligations, would have known that WaMu stock was an
imprudent investment for the Plan due to WaMu’s serious mismanagement and improper
business practices, including, among other practices, the Company’s: (1) increasingly risk-
fraught lending practices; (2) lack of adequate risk-management controls over its improper
lending practices contributing to high delinquency and foreclosure rates among borrowers; (3)
role in the systematic inflation of property appraisals during the loan origination process; and (4)
misrepresentations regarding the Company’s financial condition.

126. As a result, WaMu’s stock price and the price of the Fund were artificially
inflated making them an imprudent investment for the Plan.

127. As aresult of Defendants’ knowledge of the public misconceptions concerning the true
financial health of the Company, any generalized warnings of market and diversification risks that

Defendants made to the Plan’s participants regarding the Plan’s investment in WaMu stock did not

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effectively inform the Plan’s participants of the past, immediate, and future nsks of investing in
Company stock.

128. Defendants also failed to take into account the changing risk profile of the WaMu
stock investment as a result of the above circumstances and the Company’s deteriorating
financial circumstances as demonstrated by objective indicators for evaluating a company’s
ongoing viability.

129. The Defendants failed to conduct an appropriate investigation into whether WaMu
stock was a prudent investment for the Plan and, in connection therewith, failed to provide the Plan’s
participants with information regarding WaMu's tremendous problems so that participants could make
informed decisions regarding their investments in the Plan.

130, An adequate or even cursory mvestigation by Defendants would have revealed to a
reasonable fiduciary that, under these circumstances, investment by the Plan in WaMu stock was
excessively and unduly risky, and, thus, imprudent. A prudent fiduciary acting under similar
circumstances would have acted to protect participants against unnecessary losses and would have
made different investment decisions. Such action was particularly appropriate here since the Plan did
not require the fiduciaries to offer WaMu stock as a Plan investment option, or maintain any investment
in the stock.

131. Because Defendants knew or should have known that WaMu was not a prudent
investment option for the Plan, they had a fiduciary duty to protect the Plan and its participants from
unreasonable and entirely predictable losses incurred as a result of the Plan’s investment in WaMu
stock.

132. Defendants had available to them several different options for satisfying this duty,
including: making appropriate public disclosures, as necessary; divesting the Plan of WaMu stock;

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discontinuing further contributions to and/or investment in WaMu stock under the Plan; consulting
independent fiduciaries regarding appropriate measures to take in order to prudently and loyally serve
the participants of the Plan; and/or resigning as fiduciaries of the Plan to the extent that as a result of
their employment by WaMu they could not loyally serve the Plan and its participants in connection
with the Plan’s acquisition and holding of WaMu stock.

133. Despite the availability of these and other options, Defendants failed to take any action
to protect participants from losses resulting from the Plan’s investment in WaMu stock. In fact,
Defendants continued to invest and to allow investment of the Plan’s assets in Company stock even as
WaMv’s problems came to light.

134. In addition, the Defendants failed to adequately review the performance of the other

fiduciaries of the Plan to ensure that they were fulfilling their fiduciary duties under the Plan and

ERISA,

135. When it came to their own personal holdings of WaMu stock, however, several
defendants, including Killinger, sold millions of dollars of the stock, effectively cashing in while
hanging Plan participants out to dry. Such conduct violated the duties of prudence and loyalty under
ERISA.

Cc. Defendants Failed to Provide Plan Participants with Complete and Accurate
Information about the True Risks of Investment in WaMu Stock in the Plan.

136. ERISA mandates that plan fiduciaries have a duty of loyalty to the plan and its
participants which includes the duty to speak truthfully to the plan and its participants when
communicating with them. A fiduciary’s duty of loyalty to plan participants under ERISA
includes an obligation not to materially mislead, or knowingly allow others to materially
mislead, plan participants and beneficiaries.

137. During the Class Period, upon information and belief, Defendants made direct and

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indirect communications with participants in the Plan which included statements regarding
investments in Company stock. These communications included, but were not limited to, SEC
filings, annual reports, press releases, and Plan documents, in which Defendants failed to
disclose that Company stock was not a prudent retirement investment, and which were
incorporated by reference in Plan documents. The Company regularly communicated with
employees, including participants in the Plan, about the performance, future financial and
business prospects of the Company’s common stock, which was, far and away, the single largest
asset of the Plan. 2006 Form 11-K at 10.

138. Defendants, as the Plan’s fiduciaries, knew or should have known certain basic
facts about the characteristics and behavior of the Plan’s participants, well-recognized in the
401(k) literature and the trade press, concerning investment in company stock, including that:

(a). Employees tend to interpret a match in company stock as an endorsement
of the company and its stock;

(b). Out of loyalty, employees tend to invest in company stock;

(c). Employees tend to over-extrapolate from recent returns, expecting high
returns to continue or increase going forward;

(d). Employees tend not to change their investment option allocations in the
plan once made;

(e). No qualified retirement professional would advise rank and file employees
to invest more than a modest amount of retirement savings in company stock, and
many retirement professionals would advise employees to avoid investment in

company stock entirely;

(f). Lower income employees tend to invest more heavily in company stock
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than more affluent workers, though they are at greater risk; and
(g). Even for risk-tolerant investors, the risks inherent to company stock are
net commensurate with it rewards.

139. Even though Defendants knew or should have known these facts, and even though
Defendants knew of the concentration of the Plan’s funds in Company stock during the Class
Period, Defendants failed to take any meaningful ameliorative action to protect the Plan and its
participants from their heavy investment in an imprudent retirement vehicle, WaMu stock.

140. In addition, Defendants failed to provide participants, and the market as a whole,
with complete and accurate information regarding the true financial condition of the Company.
As such, participants in the Plan could not appreciate the true risks presented by investments in

Company stock and therefore could not make informed decisions regarding their investments in

.Company stock in the Plan.

141. Specifically, Defendants failed to provide the Plan’s participants with complete
and accurate information regarding WaMu’s serious mismanagement and improper business
practices, including, among other practices, the Company’s: (1) increasingly risk-fraught lending
practices; (2) lack of adequate risk-management controls over its improper lending practices
contributing to high delinquency and foreclosure rates among borrowers; (3) role in the
systematic inflation of property appraisals during the loan origination process; and (4)
misrepresentations regarding the Company’s financial condition.

142. Even as iate as September 2007, Defendant Killinger persisted in providing
inaccurate information that did not reflect the Company’s exposure to subprime-related losses.

Speaking at the Lehman Brothers Financial Services conference, Killinger said:

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As a policy, we don’t provide interim updates to our earnings drivers
between our quarterly earnings calls. However, the near-perfect storm in
the housing and capital markets I spoke about will impact our second half
performance and I want to give you my insights into what that may look
like. Of course, we will be updating our earnings drivers during our third
quarter earnings call next month. Given a weakening housing market, we
do expect to see:

0 A continuation of the increase in nonperforming loans which could
lead to a higher level of charge-offs in the coming quarters.

0 As a result of this, and in support of our loan portfolio growth, we
expect that our loan loss provisioning for the year could be approximately
$500 million greater than the full-year guidance we gave in July of $1.5 to
$1.7 billion.

See Current Report (Form 8-K) (Sept. 10, 2007) at Ex. 99.1.

143. Just as the July guidance was inaccurate, Defendant Killinger’s estimate was off
by nearly 30%. In just a month’s time, the Company revised the loan loss provisioning up to
between $2.7 and $2.9 billion. Washington Mutual, Inc. Prepared Remarks for Third Quarter
2007 Earnings Conference Call, Oct. 17, 2007, available at
http://investors.wamu.com/Cache/1001137714.PDF?0=3&0=PDF&iid=1 02028&fid=10011377
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144, Throughout the Class Period, the participants were not informed of the true risks
of investing their retirement assets in the Plan in WaMu stock.

D. Defendants Suffered From Conflicts of Interest.

145. As ERISA fiduciaries, Defendants are required to manage the Plan’s investments,
including the investment in WaMu stock, solely in the interest of the participants and
beneficiaries, and for the exclusive purpose of providing benefits to participants and their
beneficiaries. This duty of loyalty requires fiduciaries to avoid conflicts of interest and to

resolve them promptly when they occur.

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146. Conflicts of interest abound when a company that invests plan assets in company

stock founders. This is because as the situation deteriorates, plan fiduciaries are torn between

- their duties as officers and directors for the company on the one hand, and to the plan and plan

participants on the other. As courts have made clear “‘[w]hen a fiduciary has dual loyalties, the

prudent person standard requires that he make a careful and impartial investigation of all

- investment decisions.”” Martin v. Feilen, 965 F.2d 660, 670 (8th Cir.1992) (citation omitted),

Here, Defendants breached this fundamental fiduciary duty.

147. Defendants failed to investigate whether to take appropriate and necessary action
to protect the Plan, and instead, chose the interests of the Company over the Plan by continuing
to offer WaMu stock as a Plan investment option, and maintain investment in WaMu stock in the
Plan. Moreover, while certain Defendants, such as Defendant Killinger, dumped shares they
personally held, they did nothing to protect the Plan from losses due to the Plan’s imprudent
investment in WaMu stock.

VID. THE RELEVANT LAW

148. ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2), provides, in pertinent part, that a civil
action may be brought by a participant for relief under ERISA § 409, 29 U.S.C. § 1109.

149. ERISA § 409(a), 29 U.S.C. § 1109(a), “Liability for Breach of Fiduciary Duty,”
provides, in pertinent part,

any person who is a fiduciary with respect to a plan who breaches any of
the responsibilities, obligations, or duties imposed upon fiduciaries by this
subchapter shall be personally liable to make good to such plan any losses
to the plan resulting from each such breach, and to restore to such plan any
profits of such fiduciary which have been made through use of assets of
the plan by the fiduciary, and shall be subject to such other equitable or

remedial relief as the court may deem appropriate, including removal of
such fiduciary.

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150. ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes individual participants to
seek equitable relief from defendants, including, without limitation, injunctive relief and, as
available under applicable law, constructive trust, restitution, and other monetary relief.

151. ERISA §§ 404(a)(1)(A) and (B), 29 U.S.C. §§ 1104(a)(1)(A) & (B), provides, in
pertinent part, that a fiduciary shall discharge his duties with respect to a plan solely in the
interest of the participants and beneficiaries, for the exclusive purpose of providing benefits to
participants and their beneficiaries, and with the care, skill, prudence, and diligence under the
circumstances then prevailing that a prudent man acting in a like capacity and familiar with such
matters would use in the conduct of an enterprise of a like character and with like aims.

152. These fiduciary duties under ERISA §§ 404(a)(1)(A) and (B) are referred to as the
duties of loyalty, exclusive purpose and prudence and are the “highest known to the law.” Chao
v. Hall Holding Co., 285 F.3d 415, 426 (6th Cir. 2002). They entail, among other things:

(a) The duty to conduct an independent and thorough investigation into, and to
continually monitor, the merits of all the investment alternatives of a plan, including in this
instance the Company Stock Fund, which invested in WaMu stock, to ensure that each
investment is a suitable option for the plan;

(b) The duty to avoid conflicts of interest and to resolve them promptly when they
occur. A fiduciary must always administer a plan with an “eye single” to the interests of the
participants and beneficiaries, regardless of the interests of the fiduciaries themselves or the plan
sponsor; and

(c) The duty to disclose and inform, which encompasses: (1) a negative duty not to

misinform; (2) an affirmative duty to inform when the fiduciary knows or should know that

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silence might be harmful; and (3) a duty to convey complete and accurate information material to
the circumstances of participants and beneficiaries.

153. ERISA § 405(a), 29 U.S.C. § 1105(a), “Liability for Breach by Co-Fiduciary,”
provides, in pertinent part,

In addition to any liability which he may have under any other provision
of this part, a fiduciary with respect to a plan shall be liable for a breach of
fiduciary responsibility of another fiduciary with respect to the same plan
in the following circumstances:

(1) if he participates knowingly in, or knowingly undertakes to conceal, an
act or omission of such other fiduciary, knowing such act or omission is a
breach;

(2) if, by his failure to comply with section 404(a)(1), 29 U.S.C.
§ 1104(a)(1), in the administration of his specific responsibilities which
give rise to his status as a fiduciary, he has enabled such other fiduciary to
commit a breach; or

(3) if he has knowledge of a breach by such other fiduciary, unless he
makes reasonable efforts under the circumstances to remedy the breach.

154.  Co-fiduciary liability is an important part of ERISA’s regulation of fiduciary
responsibility. Because ERISA permits the fractionalization of the fiduciary duty, there may be,
as in this case, several ERISA fiduciaries involved in a given issue, such as the role of company
stock ina plan. In the absence of co-fiduciary liability, fiduciaries would be incentivized to hmit
their responsibilities as much as possible and to ignore the conduct of other fiduciaries. The
result would be a setting in which a major fiduciary breach could occur, but the responsible party
could not easily be identified. Co-fiduciary liability obviates this. Even if a fiduciary merely
knows of a breach, a breach he had no connection with, he must take steps to remedy it:

[I]f a fiduciary knows that another fiduciary of the plan has committed a
breach, and the first fiduciary knows that this is a breach, the first
fiduciary must take reasonable steps under the circumstances to remedy

the breach. ... [T]he most appropriate steps in the circumstances may be
to notify the plan sponsor of the breach, or to proceed to an appropriate

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Federal court for instructions, or bring the matter to the attention of the
Secretary of Labor. The proper remedy is to be determined by the facts
and circumstances of the particular case, and it may be affected by the
relationship of the fiduciary to the plan and to the co- fiduciary, the duties
and responsibilities of the fiduciary in question, and the nature of the
breach.

1974 U.S.C.C.A.N. 5038, 1974 WL 11542, at 5080.

155. Plaintiff therefore brings this action under the authority of ERISA § 302(a)(2) for
relief under ERISA § 409(a) to recover losses sustained by the Plan arising out of the breaches of
fiduciary duties by the Defendants for violations under ERISA § 404(a)(1) and ERISA § 405(a).

TX. ERISA § 404(c) DEFENSE INAPPLICABLE

156. ERISA § 404(c} is an affirmative defense that provides a limited exception to
fiduciary liability for losses that result from participants’ exercise of control over investment
decisions. In order for § 404(c) to apply, participants must in fact exercise “independent control”
over investment decisions, and the fiduciaries must otherwise satisfy the numerous procedural
and substantive requirements of ERISA § 404(c), 29 U.S.C. § 1104(c), and the regulations
promulgated under it.

157. ERISA § 404(c) does not apply here for several reasons.

158. First, ERISA § 404(c) does not and cannot provide any defense to the fiduciaries’
imprudent decision to select and continue offering WaMu stock as an investment option in the
Plan as this is not a decision that was made or controlled by the participants. See Final Reg.
Regarding Participant Directed Individual Account Plans (ERISA Section 404(c) Plans) (“Final
404(c) Reg.”), 57 Fed. Reg. 46906-01, 1992 WL 277875, at *46924 n.27 (Oct. 13, 1992)
(codified at 29 C.F.R. pt. 2550) (noting that “the act of limiting or designating investment
options which are intended to constitute all or part of the investment universe of an ERISA §
404(c) plan is a fiduciary function which, whether achieved through fiduciary designation or

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express plan language, is not a direct or necessary result of any participant direction of such
plan”).

-159. Secondly, even as to participant-directed investment in WaMu stock, ERISA §
404(c) does not apply because Defendants failed to ensure effective participant control by
providing complete and accurate material information to participants regarding WaMu stock.
See 29 CFR. § 2550.404c-1(b)(2)(i)(B) (the participant must be provided with “sufficient
information to make informed decisions”). As a consequence, participants in the Plan did not
have informed. control over the portion of the Plan’s assets thai were invested in WaMu stock as
a result of their investment directions, and the Defendants remain entirely responsible for losses
that result from such investment.

160. Because ERISA § 404{c) does noi apply here, the Defendants’ liability to the
Plan, the Plaintiff and the Class (as defined below) for losses caused by the Plan’s investment in
WaMu stock is established upon proof that such investments were or became imprudent and
resulted in losses in the value of the assets in the Plan during the Class Period.

X. DEFENDANTS’ INVESTMENT IN WAMU STOCK IS NOT ENTITLED TO A
PRESUMPTION OF PRUDENCE

161. Some courts have applied a presumption of prudence to decisions by plan
fiduciaries to ivest plan assets in company stock in plans that qualify as “ESOPs” under the
Internal Revenue Code and rules of the Department of the Treasury promulgated thereunder.
The presumption is based on the dual purpose of an ESOP to allow employee ownership on the
one hand, and save for retirement on the other. Moench v, Robertson, 62 F.3d 553, 569, 571 Gd
Cir. 1995) (explaining dual purpose of ESOP plans and adopting presumption of prudence to
balance these concerns). “A plaintiff may then rebut this presumption of reasonableness by

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showing that a prudent fiduciary acting under similar circumstances would have made a different
investment decision.” Kuiper v. Tovenko, 66 F.3d 1447, 1459 (6th Cir. 1995)

162. Here, even if a portion of the Plan is considered an ESOP, and a presumption of
prudence is applied to the Defendants’ decision to offer WaMu stock as a Plan investment
option, the presumption is overcome by the facts alleged here, including, among other
averments:

e A precipitous stock price decline from over $46.42 to $18.30 during the Class Period;

e Risk of imminent further collapse of the price of WaMu stock based on WaMu’s

practices as discussed in detail herein;

e The Company’s seriously deteriorating financial condition as well as Defendants’

conflicted status as discussed in detail herein;

e Serious, if not gross, mismanagement evidenced by, among other things;

. Expanding subprime mortgage origination even after widely-recognized
market conditions had already slowed revenue growth and exponentially
increased the risk of defaults and loan losses;

. Participating in the systematic manipulation of loan origination practices;
. Persistently failing to recognize, mitigate, and accurately disclose, the
Company’s enormous exposure to loan losses;

" Dishonest, misleading, and illegal actions as set forth above that caused
the price of WaMu stock to be artificially inflated; and

. Defendants’ conflicts of interest by which they held the Company’s
interests above those of Plan participants through their failure to take prompt and

effective action to prevent further loss of participants’ retirement savings.

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163. The imprudence of continued investment by Defendants in WaMu stock during
the Class Period under the circumstances present here is recognized in Department of Labor
regulations:

[B]ecause every investment necessarily causes a plan to forgo other
investment opportunities, an investment will not be prudent if it would be
expected to provide a plan with a lower rate of return than available

alternative investments with commensurate degrees of risk or is riskier
than alternative available investments with commensurate rates of return.

29 C.F.R. 2509.94-1. Defendants had available to them investment alternatives to WaMu stock
that had either a higher rate of return with risk commensurate to WaMu stock or an expected rate
of return commensurate to WaMu stock but with less risk.

164. Based on these circumstances, and the others alleged herein, it was imprudent and

an abuse of discretion for Defendants to continue to make and maintain investment in WaMu

stock, and, effectively, to do nothing at all to protect the Plan from significant losses as a result
of such investment during the Class Period.

XI. CAUSES OF ACTION
A. Count I: Failure to Prudently and Loyally Manage the Plan and Assets of the Plan

165. Plaintiff incorporates by this reference the paragraphs above.

166. This Count alleges fiduciary breach against the following Defendants: WaMu
and the Investment Committee Defendants (the “Prudence Defendants’’).

167. As alleged above, during the Class Period the Prudence Defendants were named
fiduciaries pursuant to ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1), or de facto fiduciaries within
the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), or both. Thus, they were bound by

the duties of loyalty, exclusive purpose, and prudence.

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168. As alleged above, the scope of the fiduciary duties and responsibilities of the
Prudence Defendants included, on information and belief, managing the assets of the Plan for the
sole and exclusive benefit of Plan participants and beneficiaries, and with the care, skill,
diligence, and prudence required by ERISA. The Prudence Defendants were directly responsible
for, among other things, selecting prudent investment options, eliminating imprudent options,
determining how to invest employer contributions to the Plan and directing the trustee regarding
the same, evaluating the merits of the Plan’s investments on an ongoing basis, and taking all
necessary steps to ensure that the Plan’s assets were invested prudently.

169. Yet, contrary to their duties and obligations under ERISA, the Prudence
Defendants failed to loyally and prudently manage the assets of the Plan. Specifically, during
the Class Period, these Defendants knew or should have known that WaMu common stock no
longer was a suitable and appropriate investment for the Plan, but was, instead, a highly
speculative and risky investment in light of the Company’s serious mismanagement, dire
financial circumstances, and the imminent risk of collapse of WaMu stock as a result thereof.
Nonetheless, during the Class Period, these Defendants continued to offer WaMu stock as an
investment option for participant contributions. They did so despite evidence that the Company
was overexposed to the risks of subprime lending, including rapidly increasing defaults and
corresponding loan losses, and that the price of WaMu stock was artificially inflated as a result
of the failure of the Defendants to provide complete and accurate information to Plan participants
and the market generally.

170. The Prudence Defendants were obliged to prudently and loyally manage all of the
Plan’s assets. However, their duties of prudence and loyalty were especially significant with
respect to Company stock because: (a) company stock is a particularly risky and volatile

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investment, even in the absence of company misconduct; and (b) participants tend to
underestimate the likely risk and overestimate the likely return of investment in company stock.
In view of this, the Prudence Defendants were obliged to have in place a regular, systematic
procedure for evaluating the prudence of investment in Company stock.

171. Moreover, the Prudence Defendants failed to conduct an appropriate investigation

of the merits of continued investment in WaMu stock even in light of the losses, the Company’s -

highly risky and inappropriate practices, and the particular dangers that these practices posed to
the Plan. Such an investigation would have revealed to a reasonably prudent fiduciary the
imprudence of continuing to make and maintain investment in WaMu stock under these
circumstances.

172. The Prudence Defendants’ decisions respecting the Plan’s investment in WaMu
stock described above, under the circumstances alleged herein, abused their discretion as ERISA
fiduciaries in that a prudent fiduciary acting under similar circumstances would have made
different investment decisions. Specifically, based on the above, a prudent fiduciary could not
have reasonably believed that further and continued investment of the Plan’s contributions and
assets in WaMu stock was in keeping with the Plan settlor’s expectations of how a prudent
fiduciary would operate.

173. The Prudence Defendants were obligated to discharge their duties with respect to
the Plan with the care, skill, prudence, and diligence under the circumstances then prevailing that
a prudent man acting in a like capacity and familiar with such matters would use in the conduct

of an enterprise of a like character and with like aims. ERISA § 404(a)(1)(B), 29 U.S.C.

§ 1104(a)(1)(B).

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174. According to DOL regulations and case law interpreting this statutory provision, a
fiduciary’s investment or investment course of action is prudent if (a) he has given appropriate
consideration to those facts and circumstances that, given the scope of such fiduciary’s
investment duties, the fiduciary knows or should know are relevant to the particular investment
or investment course of action involved, including the role the investment or investment course
of action plays in that portion of the plan’s investment portfolio with respect to which the
fiduciary has investment duties; and (b) he has acted accordingly.

175. Again, according to DOL regulations, “appropriate consideration” in this context
includes, but is not necessarily limited to:

* A determination by the fiduciary that the particular investment or investment
course of action is reasonably designed, as part of the portfolio (or, where
applicable, that portion of the plan portfolio with respect to which the fiduciary
has investment duties), to further the purposes of the plan, taking into
consideration the risk of loss and the opportunity for gain (or other return)
associated with the investment or investment course of action; and

¢ Consideration of the following factors as they relate to such portion of the
portfolio:

o The composition of the portfolio with regard to diversification;
o The liquidity and current return of the portfolio relative to the anticipated
cash flow requirements of the plan; and

o The projected return of the portfolio relative to the funding objectives of

the plan.

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176. Given the conduct of the Company as described above, the Prudence Defendants
could not possibly have acted prudently when they continued to invest the Plan’s assets in
WaMu stock because, among other reasons:

e The Prudence Defendants knew of and/or failed to investigate the failures of the
Company, including, but not limited to the following, which made the Company
an extremely risky and imprudent investment for the Plan: (a) the Company’s
over reliance on subprime lending; (b) the Company’s participation in the |
systematic manipulation of the loan origination process; (c) the Company’s failure
to implement and maintain risk management control processes; and (d) the
Company’s failure properly to account for its subprime lending business
operations

® The risk associated with the investment in WaMu stock during the Class Period
was far above and beyond the normal, acceptable risk associated with investment
in company stock;

¢ This abnormal investment risk could not have been known by the Plan’s
participants, and the Prudence Defendants knew that it was unknown to them (as
it was to the market generally), because the fiduciaries never disclosed it;

e Knowing of this extraordinary risk, and knowing the Plan’s participants did not
know it, the Prudence Defendants had a duty to avoid permitting the Plan or any
participant from investing the Plan’s assets in WaMu stock; and

* Further, knowing that the Plan was not a diversified portfolio, but was

significantly invested in Company stock, the Prudence Defendants had a

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heightened responsibility to divest the Plan of Company stock if it became or
remained imprudent.
177. The fiduciary duty of loyalty entails, among other things, a duty to avoid conflicts
of interest and to resolve them promptly when they occur. A fiduciary must always administer a
plan with single-minded devotion to the interests of the participants and beneficiaries, regardless
of the interests of the fiduciaries themselves or the plan sponsor. Upon information and belief,
the compensation and tenure of the Prudence Defendants was tied to the performance of WaMu
stock and/or the publicly reported financial performance of WaMu. Fiduciaries laboring under
such conflicts, must, in order to comply with the duty of loyalty, make special efforts to assure

that their decision making process is untainted by the conflict and made in a disinterested

fashion, typically by seeking independent financial and legal advice obtained only on behalf of

the plan.

178. The Prudence Defendants breached their duty to avoid conflicts of interest and to
promptly resolve them by, inter afia, failing to engage prudent independent advisors who could
make independent judgments concerning the Plan’s investment in WaMu; failing to notify
appropriate federal agencies, including the DOL, of the facts and circumstances that made
WaMu stock an unsuitable investment for the Plan; failing to take such other steps as were
necessary to ensure that participants’ interests were loyally and prudently served; with respect to
each of these above failures, doing so in order te avoid adversely impacting their own
compensation or drawing attention to WaMu’s inappropriate practices; and by otherwise placing
their own and WaMu’s improper interests above the interests of the participants with respect to

the Plan’s investment in WaMu stock.

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179. Moreover, a fiduciary’s duties of loyalty and prudence require it to disregard plan
documents or directives that it knows or reasonably should know would lead to an imprudent
result or would otherwise harm plan participants or beneficiaries. ERISA § 404(a)(1)(D), 29
U.S.C. § 1104(a)(1)(D). Thus, a fiduciary may not blindly follow plan documents or directives
that would lead to an imprudent result or that would harm plan participants or beneficiaries, nor
allow others, including those whom they direct or who are directed by the plan, to do so.

180. Thus, even to the extent that the Plan required the fiduciaries to offer WaMu stock
as an investment option, which Plaintiffs dispute, the Prudence Defendants breached their duty
of prudence by continuing to offer WaMu stock as an investment option for participant
contributions in the Plan, when the Prudence Defendants knew or should have known that
‘WaMu stock no longer was a prudent investment for participants’ retirement savings.

181. As a consequence of the Prudence Defendants’ breaches of fiductary duties
alleged in this Count, the Plan suffered significant losses. If the Prudence Defendants had
discharged their fiduciary duties to prudently invest the Plan’s assets, the losses suffered by the
Plan would have been minimized or avoided. Therefore, as a direct and proximate result of the
breaches of fiduciary duty alleged herein, the Plan, and indirectly Plaintiff and the other Class
members, lost well over $175 million dollars of retirement savings.

182. Pursuant to ERISA §§ 409, 502(a)(2) and (a)(3), 29 U.S.C. $§ 1109(a), 1132(aj)(2)
& (a)(3), the Prudence Defendants are liable to restore the losses to the Plan caused by their
breaches of fiduciary duties alleged in this Count and to provide other equitable relief as
appropriate.

B. Count I: Failure to Monitor Fiduciaries

183. Plaintiff incorporates by this reference the allegations above.

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184. This Count alleges fiduciary breach against the following Defendants: WaMu; the
Director Defendants; and the HR Committee (the “Monitoring Defendants”).

185. As alleged above, during the Class Period the Monitoring Defendants were named
fiduciaries pursuant to ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1), or de facto fiduciaries within
the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), or both. Thus, they were bound by
the duties of loyalty, exclusive purpose, and prudence.

186. As alleged above, the scope of the fiduciary responsibilities of the Monitoring
Defendants included the responsibility to appoint, and remove, and thus, monitor the

performance of other fiduciaries, as follows:

 

 

 

 

Monitoring Fiduciary Monitored Fiduciary Reference

WaMu Investment Committee Defendants. 44] 43-47

Director Defendants Investment Committee Defendants. qq] 48-50

HR Committee Investment Committee and qj 51-53
Administration Committee

 

 

 

 

 

187. Under ERISA, a monitoring fiduciary must ensure that the monitored fiduciaries
are performing their fiduciary obligations, including those with respect to the investment and
holding of plan assets, and must take prompt and effective action to protect the plan and
participants when they are not.

188. The monitoring duty further requires that appointing fiduciaries have procedures
in place so that on an ongoing basis they may review and evaluate whether the “hands-on”
fiduciaries are doing an adequate job (for example, by requiring periodic reports on their work
and the plan’s performance, and by ensuring that they have a prudent process for obtaining the
information and resources they need). In the absence of a sensible process for monitoring their

appointees, the appointing fiduciaries would have no basis for prudently concluding that their

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appointees were faithfully and effectively performing their obligations to plan participants or for
deciding whether to retain ot remove them.

189. Furthermore, a monitoring fiduciary must provide the monitored fiduciaries with
complete and accurate information in their possession that they know or reasonably should know
that the monitored fiduciaries must have in order to prudently manage the plan and the plan
assets, or that may have an extreme impact on the plan and the fiduciaries’ investment decisions
regarding the plan.

190. The Monitoring Defendants breached their fiduciary monitoring duties by, among
other things: (a) failing, at least with respect to the Plan’s investment in Company stock, to
monitor their appointees, to evaluate their performance, or to have any system in place for doing
so, and standing idly by as the Plan suffered enormous losses as a result of their appointees’
imprudent actions and inaction with respect to Company stock; (b) failing to ensure that the
monitored fiduciaries appreciated the true extent of WaMu’s highly risky and inappropriate
business practices, and the likely impact of such practices on the value of the Plan’s investment
in WaMu stock; (c) to the extent any appointee lacked such information, failing to provide
complete and accurate information to all of their appointees such that they could make
sufficiently informed fiduciary decisions with respect to the Plan’s assets; and (d) failing to
remove appointees whose performance was inadequate in that they continued to make and
maintain investments in WaMu stock despite their knowledge of practices that rendered WaMu
stock an imprudent investment during the Class Period for participants’ retirement savings in the
Plan, and who breached their fiduciary duties under ERISA.

191. As a consequence of the Monitoring Defendants’ breaches of fiduciary duty, the
Plan suffered tremendous losses. If the Monitoring Defendants had discharged their fiduciary

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monitoring duties as described above, the losses suffered by the Plan would have been
minimized or avoided. Therefore, as a direct and proximate result of the breaches of fiduciary
duty alleged herein, the Plan, and indirectly the Plaintiff and the other Class members, lost well
over $175 million dollars of retirement savings.

192. Pursuant to ERISA §§ 409, 502(a)(2) and (a)(3), 29 U.S.C. §§ 1109(a), 1132(a)(2)
and (a)(3), the Monitoring Defendants are liable to restore the losses to the Plan caused by their
breaches of fiduciary duties alleged in this Count and to provide other equitable relief as
appropriate.

C. Count III: Breach of Fiduciary Duty — Failure to Provide Complete and Accurate
Information to the Plan’s Participants and Beneficiaries.

193. Plaintiff incorporates by this reference the allegations above.

194. This Count alleges fiduciary breach agamst the Administration Committee
Defendants (the “Communications Defendants”).

195, At all relevant times, as alleged above, Defendants listed in this Count were
fiduciaries within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(@21)(A). Thus, they were
bound by the duties of loyalty, exclusive purpose, and prudence.

196. At all relevant times, the scope of the fiduciary responsibility of the Defendants
included the communications and material disclosures to the Plan’s participants and
beneficiaries,

197, The duty of loyalty under ERISA requires fiduciaries to speak truthfully to
participants, not to mislead them regarding the plan or plan assets, and to disclose information
that participants need in order to exercise their rights and interests under the plan. This duty to
inform participants includes an obligation to provide participants and beneficiaries of the plan

with complete and accurate information, and to refrain from providing false information or

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concealing material information, regarding plan investment options so that participants can make
informed decisions with regard to the prudence of investing in such options made available under
the plan. This duty applies to all of the Plan’s investment options, including investment in
WaMu stock.

198. Because investments in the Plan were not diversified (i.e. the Defendants chose to
allow the Plan’s assets to be invested heavily in WaMu stock), such investment carried with it an
inherently high degree of risk. This inherent risk made the Defendants’ duty to provide complete
and accurate information particularly important with respect to WaMu stock.

199. The Defendants breached their duty to inform participants by failing to provide
complete and accurate information regarding WaMu’s serious mismanagement and improper
business practices and public misrepresentations, and the consequential artificial inflation of the
value of WaMu stock, and, generally, by conveying incomplete information regarding the
soundness of WaMu stock and the prudence of investing and holding retirement contributions in
WaMu equity. These failures were particularly devastating to the Plan and its participants; a
large percentage of the Plan’s assets were invested in WaMu stock during the Class Period and,
thus, losses in this investment had a significant impact on the value of participants’ retirement
assets.

200. Defendants’ omissions clearly were material to participants’ ability to exercise
informed control over their Plan accounts, as in the absence of the information, participants did
not know the true risks presented by the Plan’s investment in WaMu stock.

201. Defendants’ omissions and incomplete statements alleged herein were Plan-wide

and uniform in that Defendants failed to provide complete and accurate information to any of the

Plan’s participants.
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202. Defendants in this Count were unjustly enriched by the fiduciary breaches
described in this Count.

203. Asa direct and proximate result of the breaches of fiduciary duties alleged herein,
the Plan, and indirectly the Plaintiff and the Plan’s other participants and beneficiaries, lost a
significant portion of their retirement investment.

204. Pursuant to ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2) and ERISA § 409(a), 29
USS.C. § 1109(a), Defendants in this Count are liable to restore the losses to the Plan caused by
their breaches of fiduciary duties alleged in this Count.

D. Count IV: Co-Fiduciary Liability

205. Plaintiff incorporates by this reference the allegations above.

206. This Count alleges co-fiduciary liability against the following Defendants: all
Defendants (the “Co-Fiduciary Defendants”).

207. As alleged above, during the Class Period the Co-Fiduciary Defendants were
named fiduciaries pursuant to ERISA § 402(a}(1), 29 U.S.C. § 1102(a)(1), or de facto fiduciaries
within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21}(A), or both. Thus, they were
bound by the duties of loyalty, exclusive purpose, and prudence.

208. As alleged above, ERISA § 405(a), 29 U.S.C. § 1105, imposes liability on a
fiduciary, in addition to any liability which he may have under any other provision, for a breach
of fiduciary responsibility of another fiduciary with respect to the same plan if knows of a breach
and fails to remedy it, knowingly participates in a breach, or enables a breach. The Co-Fiduciary
Defendants breached all three provisions.

209, Knowledge of a Breach and Failure to Remedy. ERISA § 405(a)(3), 29 U.S.C.
§ 1105, imposes co-fiduciary liability on a fiduciary for a fiduciary breach by another fiduciary

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if, he has knowledge of a breach by such other fiduciary, unless he makes reasonable efforts
under the circumstances to remedy the breach. Each Defendant knew of the breaches by the
other fiduciaries and made no efforts, much less reasonable ones, to remedy those breaches. In
particular, they did not communicate their knowledge of the Company’s illegal activity to the
other fiduciaries.

210. WaMu, through its officers and employees, engaged in highly risky and
inappropriate business practices, withheld material information from the market, and profited
from such practices, and, thus, knowledge of such practices is imputed to WaMu as a matter of
law.

211. Because Defendants knew of the Company’s failures and inappropriate business
practices, they also knew that the Prudence Defendants were breaching their duties by continuing
to invest in Company stock. Yet, they failed to undertake any effort to remedy these breaches.
Instead, they compounded them by downplaying the significance of WaMu’s failed and
inappropriate business practices, and obfuscating the risk that the practices posed to the
Company, and, thus, to the Plan.

212. Knowing Participation in a Breach. ERISA § 405(a)(1), 29 U.S.C. § 1105(1),
imposes liability on a fiduciary for a breach of fiduciary responsibility of another fiduciary with
respect to the same plan if he participates knowingly in, or knowingly undertakes to conceal, an
act or omission of such other fiduciary, knowing such act or omission is a breach. WaMu
knowingly participated in the fiduciary breaches of the Prudence Defendants in that it benefited
from the sale or contribution of its stock at prices that were disproportionate to the risks for Plan
participants. Likewise, the Monitoring Defendants knowingly participated in the breaches of the
Prudence Defendants because, as alleged above, they had actual knowledge of the facts that

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rendered WaMu stock an imprudent retirement investment and yet, ignoring their oversight
responsibilities, permitted the Prudence Defendants to breach their duties.

213. Enabling a Breach. ERISA § 405(a)(2), 29 U.S.C, § 1105(2), imposes liability
on a fiduciary if by failing to comply with ERISA § 404(a)(1), 29 U.S.C. §1104(a)(1), in the
administration of his specific responsibilities which give rise to his status as a fiduciary, he has
enabled another fiduciary to commit a breach.

214. The Monitoring Defendants’ failure to monitor the HR and Investment
Committees enabled those committees to breach their duties.

215. Asadirect and proximate result of the breaches of fiduciary duties alleged herein,
the Plan, and indirectly the Plaintiff and the Plan’s other participants and beneficiaries, lost well
over $175 million dollars of retirement savings.

216. Pursuant to ERISA §§ 409, 502(a)(2) and (a}(3), 29 U.S.C. §§ 1109(a), 1132(a)(2)

and (a)(3), the Co-Fiduciary Defendants are liable to restore the losses to the Plan caused by their

breaches of fiduciary duties alleged in this Count and to provide other equitable relief as |

appropriate.
E. Count V: Knowing Participation in a Breach of Fiduciary Duty.

217. Plaintiff incorporates the allegations contained in the previous paragraphs of this
Complaint as if fully set forth herein.

218. To the extent that WaMu is found not to have been fiduciary or to have acted in a
fiduciary capacity with respect to the conduct alleged to have violated ERISA, WaMu knowingly
participated in the breaches of those Defendants who were fiduciaries and acted in a fiduciary

capacity and as such is liable for equitable relief as a result of participating in such breaches.

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219. WaMu benefited from the breaches by discharging its obligations to make
contributions to the Plan in amounts specified by the Plan, contributing WaMu stock to the Plan
while the value of the stock was inflated as the result of WaMu's highly risky and improper
business practices, and providing the market with materially misleading statements and
omissions. Accordingly, WaMu may be required to disgorge this benefit or a constructive trust
should be imposed on treasury shares of WaMu stock which would have been contributed to the
Plan, but for WaMu’s participation in the foregoing breaches of fiduciary duty.

XII. CAUSATION

220. The Plan suffered well over $175 million dollars in losses because substantial
assets of the Plan were imprudently invested or allowed to be invested by Defendants in WaMu
stock during the Class Period, in breach of Defendants’ fiduciary duties.

221. The Prudence Defendants are liable for losses to the portion of Plan’s assets
invested in WaMu stock as a result of participant contributions because they failed to take the
necessary and required steps to ensure effective and informed independent participant control
over the investment decision-making process, as required by ERISA § 404(c), 29 U.S.C.
§ 1104(c), and the regulations promulgated thereunder.

222. The Prudence Defendants also are liable for losses that resulted from their

- decision to invest nearly all of the assets of the Company Stock Fund in WaMu stock rather than,

cash or other short-term investment options, as authorized by the Plan, and clearly prudent under
the circumstances presented here.

223. Had the Defendants properly discharged their fiduciary and co-fiduciary duties,
including the monitoring and removal of fiduciaries who failed to satisfy their ERISA-mandated

duties of prudence and loyalty, eliminating WaMu stock as an investment alternative when it

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became imprudent, and divesting the Plan of WaMu stock when maintaining such an investment
became imprudent, the Plan would have avoided some or all of the losses that it, and indirectly,
the participants suffered.

XI. REMEDY FOR BREACHES OF FIDUCTARY DUTY

224, The Defendants breached their fiduciary duties in that they knew or should have
known the facts as alleged above, and therefore knew or should have known that the Plan’s
assets should not have been invested in WaMu stock during the Class Period.

225. As a consequence of the Defendants’ breaches, the Plan suffered significant
losses.

226. ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2) authorizes a plan participant to bring
a civil action for appropriate relief under ERISA § 409, 29 U.S.C. § 1109. Section 409 requires
“any person who is a fiduciary...who breaches any of the...duties imposed upon fiduciaries...to

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make good to such plan any losses to the plan....” Section 409 also authorizes “such other
equitable or remedial relief as the court may deem appropriate....”

227. With respect to calculation of the losses to the Plan, breaches of fiduciary duty
result in a presumption that, but for the breaches of fiduciary duty, the Plan would not have made
or maintained its investments in the challenged investment and, instead, prudent fiduciaries
would have invested the Plan’s assets in the most profitable alternative investment available to
them. Alternatively, losses may be measured not only with reference to the decline in stock price
relative to alternative investments, but also by calculating the additional shares of WaMu stock

that the Plan would have acquired had the Plan fiduciaries taken appropriate steps to protect the

Plan. The Court should adopt the measure of loss most advantageous to the Plan. In this way,

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the remedy restores the Plan’s lost value and puts the participants in the position they would have
been in if the Plan had been properly administered.

228. Plaintiff and the Class are therefore entitled to relief from the Defendants in the
form of: (a) a monetary payment to the Plan to make good to the Plan the losses to the Plan
resulting from the breaches of fiduciary duties alleged above in an amount to be proven at trial
based on the principles described above, as provided by ERISA § 409(a), 29 U.S.C. § 1109(a);
(b) injunctive and other appropriate equitable relief to remedy the breaches alleged above, as
provided by ERISA §§ 409(a), 502(a}(2) and (3), 29 U.S.C. §§ 1109(a), 1132(a)(2) and (3); (c)
injunctive and other appropriate equitable relief pursuant to ERISA § 502(a)(3), 29 U.S.C.
1132(a)(3), for knowing participation by a non-fiduciary in a fiduciary breach; (d) reasonable
attomey fees and expenses, as provided by ERISA § 502(g), 29 U.S.C. § 1132(g), the common
fund doctrine, and other applicable law; (e) taxable costs and interest on these amounts, as
provided by law; and (6) such other legal or equitable relief as may be just and proper.

229. Under ERISA, each Defendant is jointly and severally liable for the losses
suffered by the Plan in this case.

XIV. CLASS ACTION ALLEGATIONS

230. Class Definition. Plaintiff brings this action as a class action pursuant to Rules
23(a), (b)(1), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure on behalf of Plaintiff and
the following class of persons similarly situated (the “Class”):

231. All persons, other than Defendants, who were participants in or beneficiaries of

the Plan at any time between July 19, 2006 and the present and whose accounts included

investments in WaMu stock.

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232. Class Period. The fiduciaries of the Plan knew or should have known at least by
July 19, 2006 that the Company’s material weaknesses were so pervasive that WaMu stock could
no longer be offered as a prudent investment for a retirement plan. |

233. Numerosity. The members of the Class are so numerous that joinder of all
members is impracticable. While the exact number of Class members 1s unknown to Plaintiff at
this time, and can only be ascertained through appropriate discovery, Plaintiff believes there are,
based on the Plan’s Form 5500 for Plan year 2005, more than 70,000 members of the Class who
participated in, or were beneficiaries of, the Plan during the Class Period.

234. Commonality. Common questions of law and fact exist as to all members of the
Class and predominate over any questions affecting solely individual members of the Class.
Among the questions of law and fact common to the Class are:

(a) whether Defendants each owed a fiduciary duty to Plaintiff and members of the
Class;

(b) whether Defendants breached their fiduciary duties to Plaintiff and members of
the Class by failing to act prudently and solely in the interests of the Plan’s participants and
beneficiaries;

(c) whether Defendants violated ERISA; and

(d) whether the Plan has suffered losses and, if so, what is the proper measure of
damages.

235. Typicality. Plaintiff's claims are typical of the claims of the members of the
Class because: (a) to the extent Plaintiff seeks relief on behalf of the Plan pursuant to ERISA
§ 502(a)(2), his claim on behalf of the Plan is not only typical to, but identical to a claim under
this section brought by any Class member; and (2) to the extent Plaintiff seeks relief under

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ERISA § 502(a)(3) on behalf of himself for equitable relief, that relief would affect all Class
members equally.

236. Adequacy. Plaintiff will fairly and adequately protect the interests of the
members of the Class and has retained counsel competent and experienced im class action,
complex, and ERISA litigation. Plaintiff has no interests antagonistic to or in conflict with those
of the Class.

237. Rule 23(b)(1)(B) Requirements. Class action status in this ERISA action is

' warranted under Rule 23(b)(1)(B) because prosecution of separate actions by the members of the

Class would create a risk of adjudications with respect to individual members of the Class which
would, as a practical matter, be dispositive of the interests of the other members not parties to the
actions, or substantially impair or impede their ability to protect their interests.

238. Other Rule 23(b) Requirements. Class action status is also warranted under the
other subsections of Rule 23(b) because: (1) prosecution of separate actions by the members of
the Class would create a risk of establishing incompatible standards of conduct for Defendants;
(2) Defendants have acted or refused to act on grounds generally applicable to the Class, thereby
making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect
to the Class as a whole; and (3) questions of law or fact common to members of the Class
predominate over any questions affecting only individual members and a class action 1s superior
to the other available methods for the fair and efficient adjudication of this controversy.

XV. PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for:
A. A Declaration that the Defendants, and each of them, have breached their ERISA
fiduciary duties to the participants;

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B. A Declaration that the Defendants, and each of them, are not entitled to the
protection of ERISA § 404(c)(1)(B), 29 U.S.C. § 1104(c)(1)(B);

C. An Order compelling the Defendants to make good to the Plan all losses to the
Plan resulting from Defendants’ breaches of their fiduciary duties, including losses to the Plan
resulting from imprudent investment of the Plan’s assets, and to restore to the Plan all profits the
Defendants made through use of the Plan’s assets, and to restore to the Plan all profits which the
participants would have made if the Defendants had fulfilled their fiduciary obligations;

D. Imposition of a Constructive Trust on any amounts by which any Defendant was
unjustly enriched at the expense of the Plan as the result of breaches of fiduciary duty;

E. An Order requiring Defendants to appoint one or more independent fiduciaries to
participate in the management of the Plan’s investment in WaMu stock;

F. Actual damages in the amount of any losses the Plan suffered, to be allocated
among the participants’ individual accounts in proportion to the accounts’ losses;

G. An Order awarding costs pursuant to 29 U.S.C. § 1132(g);

“HL An Order awarding attorneys’ fees pursuant to the common fund doctrine, 29

U.S.C. § 1132(g), and other applicable law; and

1. An Order for equitable restitution and other appropriate equitable and injunctive

relief against the Defendants.

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